Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 1 of 78 Page ID
                                #:25708


  1    CARLOS R. HOLGUÍN (Cal. Bar No. 90754)
       PETER A. SCHEY (Cal. Bar No. 58232)
  2
       Center for Human Rights & Constitutional Law
  3    256 South Occidental Boulevard
       Los Angeles, CA 90057
  4
       Telephone: (213) 388-8693
  5    Email: crholguin@centerforhumanrights.org
              pschey@centerforhumanrights.org
  6

  7    ORRICK, HERRINGTON & SUTCLIFFE LLP
  8
       Elena Garcia (Cal. Bar No. 299680)
       egarcia@orrick.com
  9    777 South Figueroa Street, Suite 3200
 10
       Los Angeles, CA 90017
       Telephone: (213) 629-2020
 11

 12
       Listing continues on next page

 13    Attorneys for Plaintiffs
 14
                            UNITED STATES DISTRICT COURT
 15
             CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
 16
      JENNY LISETTE FLORES, et al.,            Case No. CV 85-4544-DMG(AGRx)
 17
                      Plaintiffs,              NOTICE OF MOTION AND MOTION TO
 18                                            ENFORCE SETTLEMENT
            v.
 19
                                               Hearing: November 30, 2018
 20   JEFFERSON B. SESSIONS, Attorney          Time:    9:30 a.m.
      General, et al.,                         Room:    1st St. Courthouse
 21
                                                        Courtroom 8C
                      Defendants.
 22

 23

 24

 25

 26
 27

 28
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 2 of 78 Page ID
                                #:25709


  1   Counsel for Plaintiffs, continued
  2
      LEECIA WELCH (CAL. BAR NO. 208741)
  3   NEHA DESAI (CAL. RLSA BAR NO. 803161)
  4   CRYSTAL ADAMS (CAL. BAR NO. 308638)
      National Center for Youth Law
  5   405 14th Street, 15th Floor
  6   Oakland, CA 94612
      Telephone: (510) 835-8098
  7   Email: lwelch@youthlaw.org
  8         ndesai@youthlaw.org
            cadams@youthlaw.org
  9

 10   HOLLY S. COOPER (Cal. Bar No. 197626)
      Co-Director, Immigration Law Clinic
 11   CARTER C. WHITE (Cal. Bar No. 164149)
 12   Director, Civil Rights Clinic
      University of California Davis School of Law
 13   One Shields Ave. TB 30
 14   Davis, CA 95616
      Telephone: (530) 754-4833
 15   Email: hscooper@ucdavis.edu
 16          ccwhite@ucdavis.edu
 17   LA RAZA CENTRO LEGAL, INC.
 18   Michael S. Sorgen (Cal. Bar No. 43107)
      474 Valencia Street, #295
 19   San Francisco, CA 94103
 20   Telephone: (415) 575-3500
 21
      THE LAW FOUNDATION OF SILICON VALLEY
 22   Jennifer Kelleher Cloyd (Cal. Bar No. 197348)
      Katherine H. Manning (Cal. Bar No. 229233)
 23
      Annette Kirkham (Cal. Bar No. 217958)
 24   152 North Third Street, 3rd floor
      San Jose, CA 95112
 25
      Telephone: (408) 280-2437
 26   Facsimile: (408) 288-8850
      Email: jenniferk@lawfoundation.org
 27
               kate.manning@lawfoundation.org
 28            annettek@lawfoundation.org
                                               1      NOTICE OF MOTION AND MOTION TO ENFORCE
                                                                            SETTLEMENT, ETC.
                                                                  CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 3 of 78 Page ID
                                #:25710


  1   Of counsel:
  2
      YOUTH LAW CENTER
  3   Virginia Corrigan (Cal. Bar No. 292035)
  4   832 Folsom Street, Suite 700 
  5         San Francisco, CA 94104
            Telephone: (415) 543-3379
  6

  7
            ///
  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26
 27

 28
                                                2    NOTICE OF MOTION AND MOTION TO ENFORCE
                                                                           SETTLEMENT, ETC.
                                                                 CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 4 of 78 Page ID
                                #:25711


  1         To Defendants and their attorneys of record:
  2         PLEASE TAKE NOTICE that on November 30, 2018, at at 9:30 a.m. or as soon
  3   thereafter as counsel may be heard, Plaintiffs will and do hereby move the Court for
  4   a class-wide order (i) declaring Defendants in anticipatory breach of the settlement
  5   approved by this Court on January 28, 1997 (“Settlement”); (ii) provisionally
  6   adjudicating Defendants in civil contempt of the Settlement and the Court’s orders
  7   enforcing it; and (iii) enjoing Defendants against implementing the proposed
  8   regulations published at 83 Fed. Reg. 45486 (Sept. 7, 2018), or their material
  9   equivalents.
 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26
 27

 28
                                                3           NOTICE OF MOTION AND MOTION TO ENFORCE
                                                                                  SETTLEMENT, ETC.
                                                                        CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 5 of 78 Page ID
                                #:25712


  1         This motion is based upon the memorandum of law and exhibits filed
  2   concurrently herewith, and all other matters of record; it is brought following a
  3   meeting of counsel pursuant to Local Rule 7-3 and ¶ 37 of the Settlement on, inter
  4   alia, October 19, 2018.
  5
      Dated: November 2, 2018.                  CARLOS R. HOLGUÍN
  6                                             PETER A. SCHEY
  7                                             Center for Human Rights &
                                                Constitutional Law
  8

  9                                             LEECIA WELCH
                                                NEHA DESAI
 10                                             National Center for Youth Law
 11
                                                HOLLY S. COOPER
 12                                             CARTER WHITE
 13                                             U.C. Davis School of Law
 14                                             ELENA GARCIA
 15                                             Orrick, Herrington & Sutcliffe, LLP

 16                                             LA RAZA CENTRO LEGAL, INC.
 17                                             Michael S. Sorgen (Cal. Bar No.
                                                43107)
 18                                             THE LAW FOUNDATION OF SILICON
 19                                             VALLEY

 20                                             Of counsel:
 21                                             YOUTH LAW CENTER
                                                Virginia Corrigan (Cal. Bar No.
 22                                             292035)
 23

 24                                              Carlos Holguín
 25                                              Carlos Holguín
                                                 One of the Attorneys for Plaintiffs
 26
 27

 28
                                                4            NOTICE OF MOTION AND MOTION TO ENFORCE
                                                                                   SETTLEMENT, ETC.
                                                                         CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 6 of 78 Page ID
                                #:25713


  1   CARLOS R. HOLGUÍN (Cal. Bar No. 90754)
  2   PETER A. SCHEY (Cal. Bar No. 58232)
      Center for Human Rights & Constitutional Law
  3   256 South Occidental Boulevard
  4   Los Angeles, CA 90057
      Telephone: (213) 388-8693
  5   Email: crholguin@centerforhumanrights.org
  6          pschey@centerforhumanrights.org
  7   ORRICK, HERRINGTON & SUTCLIFFE LLP
  8   Elena Garcia (Cal. Bar No. 299680)
      egarcia@orrick.com
  9   777 South Figueroa Street, Suite 3200
 10   Los Angeles, CA 90017
      Telephone: (213) 629-2020
 11
 12
      (Listing continues on next page.)
 13
 14   Attorneys for Plaintiffs.

 15
 16                          UNITED STATES DISTRICT COURT

 17           CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
 18   JENNY LISETTE FLORES, et al.,            Case No. CV 85-4544-DMG (AGRx)
 19                   Plaintiffs,              MEMORANDUM IN SUPPORT OF MOTION
                                               TO ENFORCE SETTLEMENT, FOR
 20         v.                                 PERMANENT INJUNCTION AND FOR
 21                                            ADJUDICATION OF CIVIL CONTEMPT.
      JEFFERSON B. SESSIONS, Attorney
 22   General, et al.,                         Hearing: November 30, 2018
 23                                            Time:    9:30 a.m.
                      Defendants.
                                               Room:    1st St. Courthouse
 24                                                     Courtroom 8C
 25
 26
 27
 28
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 7 of 78 Page ID
                                #:25714


  1   Attorneys for Plaintiffs, continued:
  2
      LEECIA WELCH (CAL. BAR NO. 208741)
  3   NEHA DESAI (CAL. RLSA BAR NO. 803161)
  4   CRYSTAL ADAMS (CAL. BAR NO. 308638)
      National Center for Youth Law
  5   405 14th Street, 15th Floor
  6   Oakland, CA 94612
      Telephone: (510) 835-8098
  7   Email: lwelch@youthlaw.org
  8         ndesai@youthlaw.org
            cadams@youthlaw.org
  9
 10   HOLLY S. COOPER (Cal. Bar No. 197626)
      Co-Director, Immigration Law Clinic
 11   CARTER C. WHITE (Cal. Bar No. 164149)
 12   Director, Civil Rights Clinic
      University of California Davis School of Law
 13   One Shields Ave. TB 30
 14   Davis, CA 95616
      Telephone: (530) 754-4833
 15   Email: hscooper@ucdavis.edu
 16          ccwhite@ucdavis.edu
 17 LA RAZA CENTRO LEGAL, INC.
 18 Michael S. Sorgen (Cal. Bar No. 43107)
    474 Valencia Street, #295
 19 San Francisco, CA 94103

 20 Telephone: (415) 575-3500
 21
      THE LAW FOUNDATION OF SILICON VALLEY
 22   Jennifer Kelleher Cloyd (Cal. Bar No. 197348)
      Katherine H. Manning (Cal. Bar No. 229233)
 23
      Annette Kirkham (Cal. Bar No. 217958)
 24   152 North Third Street, 3rd floor
      San Jose, CA 95112
 25
      Telephone: (408) 280-2437
 26   Facsimile: (408) 288-8850
      Email: jenniferk@lawfoundation.org
 27
       kate.manning@lawfoundation.org
 28    annettek@lawfoundation.org
                                              ii      MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                SETTLEMENT, ETC.
                                                                      CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 8 of 78 Page ID
                                #:25715


  1   Of counsel:
  2
    YOUTH LAW CENTER
  3 Virginia Corrigan (Cal. Bar No. 292035)
  4 832 Folsom Street, Suite 700 
           San Francisco, CA 94104
  5        Telephone: (415) 543-3379
  6
  7         ///
  8
  9
 10
 11
 12
 13
 14
 15
 16

 17
 18
 19

 20
 21
 22
 23
 24
 25
 26
 27
 28
                                              iii   MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                              SETTLEMENT, ETC.
                                                                    CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 9 of 78 Page ID
                                #:25716


  1                                               TABLE OF CONTENTS
  2   I.     INTRODUCTION .......................................................................................... 1
  3   II.    THE PROPOSED RULE FAILS TO IMPLEMENT THE
  4
             SETTLEMENT. .............................................................................................. 3
      III.   DEFENDANTS’ PROPOSED RULE, STATEMENTS AND
  5
             CONDUCT PLACE THEM IN ANTICIPATORY BREACH. ..................... 5
  6          A.       DHS’s proposed regulations abrogate children’s protections
  7                   against unnecessary detention and substandard placement. ................. 6
  8                   1.       Defendants propose to detain accompanied children
                               indefintely................................................................................... 6
  9
                      2.       Defendants vow to consign accompanied children to
 10                            unlicensed family detention centers in violation of
 11                            Settlement ¶ 19. .......................................................................... 8
             B.       HHS’s proposed regulations expand the grounds for unlicensed
 12
                      placement and eliminate neutral and detached review of grounds
 13                   to detain children on account of dangerousness or flight-risk. ........... 12
 14          C.       The Proposed Rule replaces the Settlement’s mandatory
                      protections with aspirational statements of dubious enforceability. .. 13
 15
             D.       Defendants have unequivocally declared their resolve to
 16                   esviscerate the protections the Settlement grants detained children. . 15
 17          E.       Defendants cannot conform the Proposed Rule with the Settlement
 18                   without beginning the rulemaking process anew. .............................. 17

 19
             F.       This Court has repeatedly found Defendants in breach of the
                      Settlement; the available evidence shows Defendants have no
 20                   intention of complying fully with the agreement. .............................. 18
 21   IV.    THE COURT SHOULD ENJOIN DEFENDANTS AGAINST
             IMPLEMENTING REGULATIONS IN VIOLATION OF THE
 22
             SETTLEMENT AND PROVISIONALLY ADJUDICATE THEM IN
 23          CIVIL CONTEMPT. .................................................................................... 19
 24          A.       The Court should enjoin Defendants from implementing
                      regulations that fail to implement and are inconsistent with the
 25
                      Settlement. .......................................................................................... 19
 26          B.       The Court should provisionally adjudicate Defendants in civil
 27                   contempt. ............................................................................................ 21
 28   V.     CONCLUSION. ............................................................................................ 24

                                                                 iv              MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                                           SETTLEMENT, ETC.
                                                                                                   CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 10 of 78 Page ID
                                #:25717


  1                                                TABLE OF AUTHORITIES
  2
    Cases
  3 Bunikyte ex. rel. Bunikiene v. Chertoff, No. A-07-CA-164-SS, 2007 WL 1074070
  4   (W.D. Tex. Apr. 9, 2007) .................................................................................. 18, 19

  5
      Caribbean Marine Services Co. v. Baldrige, 844 F.2d 668 (9th Cir. 1988) ............... 20
      Clean Air Council v. Pruitt, 862 F.3d 1 (D.C. Cir. 2017) ........................................... 18
  6
      Drakes Bay Oyster Co. v. Jewell, 747 F.3d 1073 (9th Cir. 2014) .............................. 20
  7
      Environmental Defense Center v. U.S. Environmental Protection Agency, 344 F.3d
  8     832 (9th Cir. 2003) .................................................................................................. 18
  9   First Interstate Bank v. Small Bus. Admin., 866 F.2d 340 (9th Cir. 1989) ................... 5
 10   Franconia Associates v. United States, 536 U.S. 129 (2002) ....................................... 6
 11   Guerrieri v. Severini, 51 Cal.2d 12 (1958) ................................................................... 5
 12   Hill v. U.S. Immigr. & Naturalization Serv., 714 F.2d 1470 (9th Cir. 1983) ............. 15
 13   Kingdomware Technologies, Inc. v. United States, 136 S. Ct. 1969 (2016) ............... 14
      Kennewick Irrigation District v. United States, 880 F.2d 1018 (9th Cir. 1989) ....... 4, 5
 14
      Lydo Enterprises, Inc. v. City of Las Vegas, 745 F.2d 1211 (9th Cir. 1984) .............. 20
 15
      Marr Enterprises, Inc. v. Lewis Refrigeration Co., 556 F.2d 951 (9th Cir. 1977) ....... 6
 16
      Melendres v. Arpaio, 695 F.3d 990 (9th Cir. 2012) .................................................... 20
 17
      Minidoka Irrigation District v. U.S. Department of the Interior, 154 F.3d 924 (9th
 18     Cir. 1998) .................................................................................................................. 6
 19   Mobil Oil Exploration & Producing Southeast, Inc. v. U.S. Department of the
       Interior, 530 U.S. 605 (2000) ................................................................................... 6
 20
      Natural Resources Defense Council v. U.S. Environmental Protection Agency, 863
 21     F.2d 1420 (9th Cir. 1988)........................................................................................ 18
 22   Ngou v. Schweiker, 535 F. Supp. 1214 (D.D.C. 1982) ................................................. 3
 23   Nodine v. Shiley Inc., 240 F.3d 1149 (9th Cir. 2001) ................................................... 4
 24   O’Neil v. Bunge Corp., 365 F.3d 820 (9th Cir. 2004) .................................................. 5
 25   Pennsylvania Bureau of Corrections v. U.S. Marshals Service, 474 U.S. 34 (1985) . 19
 26   Riverbend Farms, Inc. v. Madigan, 958 F.2d 1479 (9th Cir. 1992) ............................. 3

 27   Roehm v. Horst, 178 U.S. 1 (1900) ............................................................................... 6
      Rufo v. Inmates of Suffolk County Jail, 502 U.S. 367 (1992) ................................. 4, 22
 28
                                                                     v               MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                                               SETTLEMENT, ETC.
                                                                                                       CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 11 of 78 Page ID
                                #:25718


  1   Sekaquaptewa v. MacDonald, 544 F.3d 396 (9th Cir. 1976)........................................ 1
  2   Taylor v. Johnston, 15 Cal.3d 130 (1975)..................................................................... 5
  3   Tzung v. State Farm Fire & Casualty Co., 873 F.2d 1338 (9th Cir. 1989) .................. 5
  4   United States v. Armour & Co., 402 U.S. 673 (1971) .................................................. 4
  5   Winter v. Natural Resources Defense Council, Inc., 555 U.S. 7 (2008) ..................... 20

  6
      Wood v. Santa Barbara Chamber of Commerce, Inc., 705 F.2d 1515 (9th Cir. 1983)
       ................................................................................................................................. 19
  7
  8
      Prior Filings and Decisions
  9
      Flores Settlement Agreement (C.D. Cal. Jan. 28, 1997) ...................................... passim
 10
      Stipulation Extending Settlement Agreement, Flores v. Reno, No. CV 85-4544-RJK
 11      (C.D. Cal. Dec. 7, 2001) .................................................................................. passim
 12   Flores v. Lynch, 828 F.3d 898 (9th Cir. 2016)............................................ 8, 10, 19, 23
 13 Order Denying Defendants’ Ex Parte Application for Limited Relief from Settlement
      Agreement, Flores v. Sessions, No. CV 85-4544 DMG (C.D. Cal. July 9, 2018)
 14   (ECF No. 455) ....................................................................................... 10, 19, 21, 23
 15 Order Denying Defendants’ Motion, Flores v. Sessions, No. CV 85-4544 DMG (C.D.
 16   Cal. June 27, 2017) (ECF No. 363)........................................................... 8, 9, 10, 12
    Flores v. Johnson, 212 F. Supp. 3d 864 (C.D. Cal. 2015) .......................................... 11
 17
      Order Re: Response to Order to Show Cause, Flores v. Sessions, No. CV 85-4544
 18
        DMG (C.D. Cal. Aug. 21, 2015) (ECF No. 189) ...................................................... 8
 19 Order Re: Plaintiffs’ Motion to Enforce Settlement of Class Action and Defendants’
 20   Motion to Amend Settlement Agreement, Flores v. Sessions, No. CV 85-4544
      DMG (C.D. Cal. July 24, 2015) (ECF No. 177) ........................................... 8, 10, 17
 21
 22 Statutes
 23 Administrative Procedure Act, 5 U.S.C. § 553 ............................................................. #
 24   All Writs Act, 28 U.S.C. § 1651 ....................................................................... 1, 19, 20
 25   Declaratory Judgement Act, 28 § 2201 ......................................................................... 1

 26   Pa. Code § 3800.271 ............................................................................................. 11, 12

 27
      Other Citations & Authorities
 28   Federal Rule of Civil Procedure 65......................................................................... 1, 20
                                                                       vi              MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                                                 SETTLEMENT, ETC.
                                                                                                          CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 12 of 78 Page ID
                                #:25719


  1 Proposed Rule, Apprehension, Processing, Care, and Custody of Alien Minors and
  2   Unaccompanied Alien Children, 83 Fed. Reg. 45,486 (2018) ......................... passim

  3
    Restatement (Second) of Contracts ............................................................................... 6
      Uniform Law Commission (National Conference of Commissioners on Uniform State
  4
        Laws), Drafting Rules (2012) ................................................................................. 15
  5   Executive Order 13,841 (June 20, 2018) .................................................................... 16
  6 Letter to House & Senate Leaders & Immigration Principles and Policies (Oct. 8,
  7   2017) ....................................................................................................................... 15
  8 Merriam-Webster Dictionary ........................................................................................ 4
      B.E. Witkin, Summary of Cal. Law (8th ed.) ............................................................... 6
  9
      Lewis Carroll, Through the Looking Glass (Bantam 2018) ....................................... 11
 10
 11
 12
 13
 14
 15
 16

 17
 18
 19

 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                                    vii             MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                                              SETTLEMENT, ETC.
                                                                                                       CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 13 of 78 Page ID
                                #:25720


  1   I.    INTRODUCTION
  2         Plaintiffs move the Court to enjoin Defendants against implementing proposed
  3   regulations, Apprehension, Processing, Care and Custody of Alien Minors and
  4   Unaccompanied Alien Children, 83 Fed. Reg. 45,486–45,534 (“Proposed Rule”), on
  5   the ground such implementation would violate the class-wide settlement this Court
  6   approved on January 28, 1997 (“Settlement”).1
  7         The Settlement protects “all minors who are detained in the legal custody of
  8   the INS,” and generally requires Defendants Department of Homeland Security
  9   (“DHS”), U.S. Immigration and Customs Enforcement (“ICE”), U.S. Customs and
 10   Border Protection (“CBP”), and the Office of Refugee Resettlement of the U.S.
 11   Department of Health & Human Services (“ORR”) to minimize the detention of
 12   children and, thereby, the harm detention causes them. Id. ¶ 14. The Settlement
 13   further provides that for howsoever long Defendants keep children in immigration-
 14   related custody, they must, except in exceptional circumstances, place those children
 15   in non-secure facilities holding a state license to care for dependent, as opposed to
 16   delinquent, minors. Id. ¶ 19.2
 17
      As discussed post, the Court should issue injunctive relief pursuant to the All Writs
      1
 18
    Act, 28 U.S.C. § 1651, and Federal Rule of Civil Procedure 65. The Court should
 19 also exercise authority to declare the Proposed Rule unlawful pursuant to the
    Declaratory Judgment Act, 28 U.S.C. § 2201, as well as its inherent power to enforce
 20
    the Settlement and hold Defendants in civil contempt. See Sekaquaptewa v.
 21 MacDonald, 544 F.2d 396, 406 (9th Cir. 1976).
 22   2 The Settlement expressly binds the INS and Department of Justice, as well as “their
 23   agents, employees, contractors, and/or successors in office.” Id. ¶ 1.
             In 2002, the Homeland Security Act, Pub. L. 107-296, 116 Stat. 2135 (“HSA”),
 24
      dissolved the INS and transferred its law enforcement functions to DHS. Congress
 25   directed that ORR should have authority over the detention and release of
      unaccompanied minors. 6 U.S.C § 279. DHS retains authority over the detention and
 26
      release of accompanied minors.
 27          The HSA included savings provisions that continued the Settlement in effect as
 28   to the INS’s successor agencies, Defendants herein. HSA §§ 462(f)(2), 1512(a)(1).
                                                                  MEMORANDUM IN SUPPORT OF MOTION FOR
                                                  1                      PERMANENT INJUNCTION, ETC.
                                                                           CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 14 of 78 Page ID
                                #:25721


  1         Pursuant to Settlement ¶ 9, Defendants may “publish the relevant and
  2   substantive terms of this Agreement as a Service regulation.” Settlement ¶ 9.
  3   However, “[t]he final regulations shall not be inconsistent with the terms of this
  4   Agreement.” Id. (emphasis supplied). In December 2001, the parties stipulated that
  5   the Settlement should remain binding for 45 days following Defendants’ publishing
  6   final regulations that “implement” the agreement. Pls.’ Ex. 2 (Stipulation Extending
  7   Settlement Agreement (Dec. 7, 2001)).
  8         In September 2018 Defendants published their Proposed Rule, which they
  9   contend will trigger the Settlement’s sunset clause. Defendants’ regulations, however,
 10   transparently are not consistent with the terms of the Settlement and fail to implement
 11   the Settlement. Instead, the Proposed Rule eviscerates class members’ rights under
 12   the Settlement. Under the Proposed Rule, DHS would have carte blanche to detain
 13   children indefinitely in secure, unlicensed facilities even when perfectly qualified
 14   family members, adults designated by parents, and licensed group homes are
 15   available to care for them as permittted by Settlement ¶ 14. ORR would enjoy broad
 16   powers to declare children dangerous and dispatch them to juvenile halls and
 17   psychiatric facilities by ipse dixit, stripping class members of the limited rights to
 18   transparency and fair process the Settlement confers. Defendants guilefully replace
 19   children’s enforceable Settlement rights with anemic declarations of what ORR and
 20   DHS purport to do, but, as this Court has now found several times, often do not.
 21   Finally, all monitoring and transparency authorized by the Settlement would
 22   terminate.
 23         Defendants seek to strip detained minors’ rights under the Settlement
 24   notwithstanding that they have repeatedly breached and continue to be in breach of
 25   the Settlement. Defendants’ repeated violations of the Settlement recently prompted
 26   this Court to appoint a Special Master/Independent Monitor.
 27         The Court should accordingly declare the Proposed Rule unlawful, enjoin
 28   Defendants against violating ¶¶ 9 and 40 of the Settlement and, if need be, adjudicate
                                                  2          MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                       SETTLEMENT, ETC.
                                                                             CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 15 of 78 Page ID
                                #:25722


  1   them in civil contempt.3
  2   II.   THE PROPOSED RULE FAILS TO IMPLEMENT THE SETTLEMENT.
  3         In pertinent part, Settlement ¶ 9 provides that when Defendants publish “the
  4   relevant and substantive terms of this Agreement as a Service regulation,” the final
  5   regulations “shall not be inconsistent with the terms of this Agreement.” (emphasis
  6   added.) The agreement’s sunset clause, Settlement ¶ 40, in turn provides as follows:
  7         All terms of this Agreement shall terminate 45 days following defendants’
  8         publication of final regulations implementing this Agreement. Notwithstanding
  9         the foregoing, the INS shall continue to house the general population of minors
 10         in INS custody in facilities that are state-licensed for the care of dependent
 11         minors.
 12
 13
 14
     The public comment period for Defendants’ proposed regulations closes on
      3

 15 November 6, 2018. 83 Fed. Reg. 45,486.
 16       The Administrative Procedure Act generally requires a 30-day waiting period
      between publication of a final rule and its effective date. 5 U.S.C. § 553(d);
 17   Riverbend Farms, Inc. v. Madigan, 958 F.2d 1479, 1484–86 (9th Cir. 1992); Ngou v.
 18   Schweiker, 535 F. Supp. 1214, 1216 (D.D.C. 1982) (publishing notice of proposed
      rulemaking does not commence 30-day notice requirement). However, the 30-day
 19   waiting period may be waived “for good cause found and published with the rule.” 5
 20   U.S.C. § 553(d)(3).
 21       Paragraph 40 of the Settlement, in contrast, requires Defendants to abide by the
      consent decree for 45 days following publication of final regulations implementing
 22   the agreement and contains no waiver proviso.
 23       Plaintiffs have repeatedly sought, but have yet to receive, Defendants’ assurance
      that they will not implement final regulations immediately, as this would cause chaos
 24
      as thousands of Defendants’ employees wrongly follow regulations that conflict with
 25   a still-binding consent decree.
 26           It is therefore entirely possible—even probable—that Defendants may attempt
      to implement the final rule on or shortly after November 6. Should Defendants do so,
 27   Plaintiffs will ask the Court for emergency relief enjoining implementation pending
 28   disposition of the instant motion.

                                                 3          MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                      SETTLEMENT, ETC.
                                                                            CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 16 of 78 Page ID
                                #:25723


  1         The Settlement is construed as a contract. Rufo v. Inmates of Suffolk Cty. Jail,
  2   502 U.S. 367, 378 (1992).4 The Court therefore is to interpret the agreement
  3   “according to the plain meaning of its terms.” Nodine v. Shiley Inc., 240 F.3d 1149,
  4   1154 (9th Cir. 2001); United States v. Armour & Co., 402 U.S. 673, 682 (1971). The
  5   agreement is also to “be read as a whole and every part interpreted with reference to
  6   the whole.” Kennewick Irri. Dist. v. United States, 880 F.2d 1018, 1032 (9th Cir.
  7   1989). Finally, “[p]reference must be given to reasonable interpretations as opposed
  8   to those that are unreasonable, or that would make the contract illusory.” Id.
  9         Applying these rules, it is clear the Settlement requires Defendants to
 10   promulgate rules that incorporate class members’ rights into federal regulations.
 11   Paragraph 9 is explicit: “implementing” regulations must be consistent with the
 12   protections the Settlement gives detained children. Yet even were Paragraph 9 not
 13   expressly to require consistency, Defendants could not possibly discharge their duty
 14   to implement the Settlement by promulgating inconsistent regulations aimed at
 15   erasing class members’ protections.
 16         To “implement” means to “carry out, accomplish; especially: to give practical
 17   effect to and ensure of actual fulfillment by concrete measures.” Merriam-Webster
 18   Dictionary, available at www.merriam-webster.com/dictionary/implement (last
 19   visited Oct. 25, 2018) (emphasis added). According to the term’s plain meaning,
 20   regulations designed to strip class members of fundamental protections the Settlement
 21   confers do not implement it.5 There is no reason to believe the parties intended the
 22
 23
 24   4This Court has previously affirmed its jurisdiction to enforce the Settlement. Order
      re: Pls.’ Mot. to Enforce Settlement, at 3 (July 24, 2015) (ECF No. 177).
 25
 26  Holding Defendants’ duty discharged upon its promulgating inconsistent regulations
      5

    would, of course, lead to absurd results. After all, were inconsistent regulations
 27 enough to “implement” the agreement, Defendants could arguably end the Settlement
 28 by publishing any rule whatsoever. Such a reading would be manifestly absurd and
                                                 4          MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                      SETTLEMENT, ETC.
                                                                            CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 17 of 78 Page ID
                                #:25724


  1   term to have anything other than its plain meaning.
  2          Were promulgating inconsistent rules enough to terminate the Settlement,
  3   Plaintiffs would be denied the benefit of the bargain: Defendants will have never
  4   incorporated class members’ Settlement rights into federal rules, leaving children
  5   without the protections of either the consent decree or equivalent federal regulations.
  6   That result that would be contrary to the plain meaning of ¶¶ 9 and 40.6
  7          As explained below, Defendants’ Proposed Rule falls far short of discharging
  8   their obligation to promulgate regulations consistent with and implementing the
  9   Settlement. Defendants have nonetheless proclaimed their resolve to implement the
 10   Proposed Rule sometime after November 6, 2018. Defendants have thereby placed
 11   themselves squarely in anticipatory breach of the Settlement.
 12   III.   DEFENDANTS’ PROPOSED RULE, STATEMENTS AND CONDUCT PLACE THEM IN
 13          ANTICIPATORY BREACH.

 14          Generally, “the construction and enforcement of settlement agreements are
 15   governed by principles of local law.” O’Neil v. Bunge Corp., 365 F.3d 820, 822–23
 16   (9th Cir. 2004). However, “federal law controls the interpretation of a contract
 17   entered pursuant to federal law when the United States is a party.” Kennewick Irr.
 18   Dist., 880 F.2d at 1032.
 19          Federal law generally mirrors the traditional common law of contracts, First
 20   Interstate Bank v. Small Bus. Admin., 868 F.2d 340, 343 n.3 (9th Cir. 1989),7
 21
      thus disfavored. Tzung v. State Farm Fire & Cas. Co., 873 F.2d 1338, 1340–41 (9th
 22   Cir. 1989).
 23
     The Settlement “sets out nationwide policy for the detention, release, and treatment
      6

 24 of minors in the custody of the INS and shall supersede all previous INS policies that
    are inconsistent with the terms of this Agreement.” Settlement ¶ 9.
 25
 26  California law accords with the federal law of anticipatory breach. See Taylor v.
      7

    Johnston, 15 Cal.3d 130, 137–38 (1975) (party commits anticipatory breach when it
 27 expressly or impliedly repudiates a contract); Guerrieri v. Severini, 51 Cal.2d 12, 18
 28 (1958) (party may repudiate contract by acts or statements or both indicating it will
                                                 5          MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                      SETTLEMENT, ETC.
                                                                            CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 18 of 78 Page ID
                                #:25725


  1   including the doctrine of anticipatory breach. See, e.g., Franconia Assocs. v. United
  2   States, 536 U.S. 129, 148 (2002) (“We comprehend no reason why an Act of
  3   Congress may not constitute a repudiation of a contract to which the United States is
  4   a party.”); Mobil Oil Expl. & Producing Se., Inc. v. U.S. Dep’t of the Interior, 530
  5   U.S. 604, 621 (2000).
  6         The doctrine of anticipatory breach allows “the promisee . . . [to] avert, or, at
  7   all events, materially lessen the injurious effects which would otherwise flow from
  8   the nonfulfillment of the contract.” Roehm v. Horst, 178 U.S. 1, 20 (1900). A party
  9   commits anticipatory breach when it makes “a positive statement to the promisee . . .
 10   indicating that the promisor will not or cannot substantially perform [its] contractual
 11   duties.” Marr Enters., Inc. v. Lewis Refrigeration Co., 556 F.2d 951, 956 (9th Cir.
 12   1977); see also Restatement (Second) of Contracts § 250 cmt. b (ALI 1981) (same).8
 13   Here, Defendants’ Proposed Rule and public statements clearly and unequivocally
 14   repudiate the Settlement.9
 15         A.     DHS’s proposed regulations abrogate children’s protections against
 16                unnecessary detention and substandard placement.
 17                1.    Defendants propose to detain accompanied children indefintely.
 18         Settlement ¶ 14 provides: “Where . . . the detention of the minor is not required
 19
    not adhere to a contract’s essential terms); 1 B.E. Witkin, SUMMARY OF CAL. LAW §
 20
    632, at 538–39 (8th ed.). Defendants are in anticipatory breach under both state and
 21 federal law.
 22  Whether a party has repudiated a contractual obligation is a question of fact.
      8


 23 Minidoka Irr. Distr. v. U.S. Dep’t of the Interior, 154 F.3d 924, 927 (9th Cir. 1998).
 24  As discussed post, an anticipatory breach also exists where a party’s repudiation is
      9

    equivocal, but he or she has also actually breached a contract. Minidoka Irr. Distr.,
 25
    154 F.3d at 926–27 (citing Restatement (Second) of Contracts § 250, cmt. b). Thus,
 26 even assuming, arguendo, Defendants’ statements and the Proposed Rule were at all
    equivocal, coupled with their many past and ongoing breaches of the Settlement,
 27
    Defendants would remain in anticipatory breach of the Settlement.
 28
                                                 6          MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                      SETTLEMENT, ETC.
                                                                            CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 19 of 78 Page ID
                                #:25726


  1   either to secure his or her timely appearance . . . or to ensure the minor’s safety or
  2   that of others, the [Defendants] shall release a minor from [their] custody without
  3   unnecessary delay.”10 If a class member has more than one potential custodian,
  4   Defendants must release him or her first to a parent, then to a legal guardian, adult
  5   sibling, aunt, uncle, or grandparent, an unrelated adult or entity designated by the
  6   minor’s parent, a licensed juvenile shelter, and finally, if there is no likely alternative
  7   to long-term detention, an unrelated adult. Settlement ¶ 14.
  8         Proposed 8 C.F.R. § 212.5(b)(3)(i) and (ii), materially circumscribe class
  9   members’ eligible custodians, providing that children may be released only “to a
 10   parent or legal guardian not in detention . . . [or] with an accompanying parent or
 11   legal guardian who is in detention.” Such detention is wholly inconsistent with the
 12   Settlement. Indeed, Defendants seek to accomplish through rulemaking what they
 13   could not in court: to legitimate the mandatory, long-term detention of children in
 14   secure, unlicensed detention centers regardless of their and their families’ wishes.
 15         Declaring all other custodians ineligible to receive and care for such class
 16   members effectively consigns accompanied class members to mandatory detention
 17   for howsoever long Defendants may require to remove the entire family. See 83 Fed.
 18   Reg. at 45,526 (“DHS’s policy is to maintain family unity, including by detaining
 19   families together where appropriate and consistent with law and available
 20   resources.”). By any measure, this is “family unity” with a vengance coming from an
 21   agency that only recently was enjoined against separating thousands of children,
 22   some still nursing, from their parents.11
 23
      Further grounding ORR’s obligation to minimize children’s detention, Settlement ¶
      10

 24 18 provides, “Upon taking a minor into custody, the INS . . . shall make and record
 25 the prompt and continuous efforts on its part toward . . . the release of the minor.”
 26   If they wish to remain together, nothing in the Settlement or this Court’s orders
      11

    prevents families from waiving their children’s rights to release to other available
 27
    custodians or to placement in a properly licensed dependent care facility.
 28
                                                   7          MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                        SETTLEMENT, ETC.
                                                                              CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 20 of 78 Page ID
                                #:25727


  1         Defendants’ Proposed Rule clearly implements their oft-stated and unfounded
  2   view that detaining families for the duration of removal proceedings deters other
  3   would-be unauthorized entrants.12 It does not, however, implement or comply with
  4   the Settlement.
  5                2.    Defendants vow to consign accompanied children to unlicensed
  6                      family detention centers in violation of Settlement ¶ 19.
  7         Settlement ¶ 19 generally requires DHS to place class members in non-secure
  8   facilities licensed to care for dependent, as opposed to delinquent, minors. Defendants
  9   may deny children licensed placement only under defined circumstances. Settlement
 10   ¶ 21. A child being apprehended with a parent is not among those circumstances.
 11         It is well settled that the Settlement applies to all minors in immigration-related
 12   custody, accompanied or not. Order (June 27, 2017) (ECF No. 363); Order Re: Pls.’
 13   Mot. to Enforce Settlement (July 24, 2015) (“July 24, 2015 Order”) (ECF No. 177)
 14   and Order Re: Response to Order to Show Cause (Aug. 21, 2015) (ECF No. 189),
 15   both aff’d in relevant part, Flores v. Lynch, 828 F.3d 898 (9th Cir. 2016). It therefore
 16   grants children in DHS custody the right to prompt placement in a non-secure,
 17   licensed dependent care facility. Defendants’ Proposed Rule posits an end-run of this
 18   requirement and this Court’s orders enforcing it.
 19         In proposed 8 C.F.R. § 236.3(a)(9), Defendants transparently torture the
 20   Settlement’s definition of “licensed placement,”13 to fit their unlawful goal of
 21
 22   Even apart from the Settlement, Defendants’ detaining class members to deter
      12

    unlawful immigration would be unlawful regardless. See Kansas v. Crane, 534 U.S.
 23
    407, 412 (2002) (civil detention may not “become a mechanism for retribution or
 24 general deterrence—functions properly those of criminal law, not civil commitment”
    (internal quotation and citation omitted)).
 25
 26   A “licensed program” must be “licensed by an appropriate State agency to provide
      13

    residential, group, or foster care services for dependent children. . . . All homes and
 27 facilities operated by licensed programs . . . [must] be non-secure as required under
 28 state law.” Settlement Definition 6.
                                                 8          MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                      SETTLEMENT, ETC.
                                                                            CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 21 of 78 Page ID
                                #:25728


  1   mandatory family detention:
  2         Licensed Facility means an ICE detention facility that is licensed by the state,
  3         county, or municipality in which it is located, if such a licensing scheme exists.
  4         . . . If a licensing scheme for the detention of minors accompanied by a parent
  5         or legal guardian is not available in the state, county, or municipality in which
  6         an ICE detention facility is located, DHS shall employ an entity outside of
  7         DHS that has relevant audit experience to ensure compliance with the family
  8         residential standards established by ICE.
  9   83 Fed. Reg. at 45,525 (emphasis added).
 10         Defendants admit, however, that few, if any, States “have licensing schemes
 11   for facilities to hold minors who are together with their parents or legal guardians.”
 12   Id. at 45,488. Defendants’ nod to state licensing is hollow: as a practical matter, the
 13   Proposed Rule will simply strip accompanied class members of their right to licensed
 14   placement.14
 15         Had Plaintiffs wished to let the Defendants—or an unidentified entity of their
 16   choosing—set minimum standards for children’s detention, the Settlement would so
 17   provide. It does not because Defendants have historically placed children in
 18   substandard facilities. Plaintiffs therefore insisted, and Defendants agreed, to place
 19   children in facilities holding a state-issued, dependent care license.15
 20
 21
      14Inasmuch as DHS intends to confine all accompanied class members in secure
      facilities indefinitely, the Proposed Rule eliminates —
 22
            (i) its obligation to notify accompanied minors of the reasons for placing them
 23         in a secure setting, a breach of Settlement ¶ 24C, 83 Fed. Reg. at 45,517; and
 24         (ii) most accompanied class members’ right to a bond hearing, a breach of
            Settlement ¶ 24A. See Proposed 8 C.F.R. § 236.3(m) (“Minors in DHS custody
 25
            who are not in section 240 proceedings are ineligible to seek review by an
 26         immigration judge of their DHS custody determinations.”).
 27   Defendants’ Proposed Rule also transparently seeks to circumvent this Court’s
      15


 28 order of June 27, 2017:
                                                  9          MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                       SETTLEMENT, ETC.
                                                                             CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 22 of 78 Page ID
                                #:25729


  1         Defendants’ wrapping their thrice discredited argument in the guise of a federal
  2   regulation does nothing implement the Settlement and instead constitutes an
  3   anticipatory breach the Settlement.16
  4         Defendants do not stop there. The Settlement requires that a “licensed
  5   program” be “non-secure as required under state law.” Settlement ¶ 6.17 Defendants
  6   contrive to define the term, “non-secure,” to legitimate their confining children
  7   indefinitely in unquestionably secure facilities.
  8         Proposed 8 C.F.R. § 236.3(b)(11) declares a facility non-secure so long as
  9
 10         Defendants . . . emphasize that . . . if the family residential centers are
 11         “unlicensed [it is] because state law does not provide a license for those
            facilities, . . .” This reasoning is a mere reprise of Defendants’ well-worn
 12         argument against Plaintiffs’ February 2, 2015 Motion to Enforce—which the
 13         Court rejected—that the licensing provision in the Flores Agreement cannot be
            interpreted to apply to family residential centers, in part because there are no
 14         state licensing processes available for Defendants’ specific facilities.
 15
            As the Court previously stated, “[t]he fact that the family residential centers
 16         cannot be licensed by an appropriate state agency simply means that, under the
            Agreement, class members cannot be housed in these facilities except as
 17
            permitted by the Agreement.”
 18 Order, at 28–29 (June 27, 2017) (ECF No. 363) (quoting Chambers Order at 12–13
 19 (ECF No. 177) (emphasis added)); see also Order Re: Pls.’ Mot. to Enforce, at *13
    (July 24, 2015) (ECF No. 177); Order Denying Defs.’ Ex Parte Application, at *6
 20
    (July 9, 2018) (ECF No. 455).
 21
      Defendants’ Proposed Rule would also strip accompanied class members of their
      16

 22 right to licensed placement, a breach of the Settlement even after it otherwise
 23 terminates. Though Defendants may argue that accompanied class members are not
    within the “the general population of minors in INS custody,” the law of this case
 24 holds that the Settlement applies equally to all children, both accompanied and
 25 unaccompanied. See Flores v. Lynch, 828 F.3d 898 (9th Cir. 2016).
 26   Although staff-secure, RTC, and secure facilities may hold a license of some sort,
      17

    they are not “licensed placements” as the Settlement defines them. See 24A Order at
 27
    4 (Yolo juvenile hall “not licensed to care for dependent children.”).
 28
                                                 10         MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                      SETTLEMENT, ETC.
                                                                            CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 23 of 78 Page ID
                                #:25730


  1   “egress from a portion of the facility’s building is not prohibited through internal
  2   locks within the building or exterior locks and egress from the facility’s premises is
  3   not prohibited through secure fencing around the perimeter of the building.”18
  4         Defendants would therefore entirely prohibit egress from a facility’s detention
  5   area through internal locks, yet would call the facility “non-secure” so long as one
  6   part—a reception area, for example—is unlocked.19 “‘When I use a word,’ Humpty
  7   Dumpty said in rather a scornful tone, ‘it means just what I choose it to mean—
  8   neither more nor less.’” Lewis Carroll, Through the Looking Glass 178 (Bantam
  9   2018). Defendants’ family detention facilities, however, are “secure” by any rational
 10   definition. See Flores v. Johnson, 212 F. Supp. 3d 864, 879–80 (C.D. Cal. 2015)
 11   (describing uncontroverted evidence that Karnes City facility is secure).20
 12
 13   Defendants’ definition is a bowdlerized version of Pennsylvania’s definition of a
      18

    secure facility. See 83 Fed. Reg. at 45,497 n.14 (Pa. Code § 3800.5 provided model
 14 for proposed 8 C.F.R. § 236.3(b)(11)). Pa. Code § 3800.5 provides as follows:
 15         Secure care — Care provided in a 24-hour living setting to one or more
 16
            children who are delinquent or alleged delinquent, from which voluntary
            egress is prohibited through one of the following mechanisms:
 17
                   (i) Egress from the building, or a portion of the building, is prohibited
 18                through internal locks within the building or exterior locks.
 19                (ii) Egress from the premises is prohibited through secure fencing
 20                around the perimeter of the building.

 21   See also Pa. Code § 3800.271 (“Secure care is permitted only for children who are
      alleged delinquent, or adjudicated delinquent and court ordered to a secure facility.”).
 22
      As shown in Plaintiffs’ Memorandum re Status Conference, at 10 to 11 (July 16,
      19
 23
    2018) (ECF No. 459-1), and exhibits, whether Defendants keep a door or two
 24 unlocked at their detention facilities, minors are subject to immediate arrest if they
    leave Defendants’ facilities.
 25
 26    Nor is it much comfort that the Proposed Rule purports to apply Defendants’
      20

    definition only if state law fails to define a non-secure facility. After all, the entire
 27 purpose of Defendants’ definition is to permit the indefinite detention of children in
 28 its existing family detention facilities, including Karnes City and Berks, which is
                                                 11         MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                      SETTLEMENT, ETC.
                                                                            CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 24 of 78 Page ID
                                #:25731


  1         In sum, the Proposed Rule would sanction indefinite family detention, a policy
  2   this Court has repeatedly held violates class members’ rights to prompt release and
  3   licensed placement.21
  4         B.     HHS’s proposed regulations expand the grounds for unlicensed
  5                placement and eliminate neutral and detached review of grounds to
  6                detain children on account of dangerousness or flight-risk.
  7         HHS’s proposed regulations would diminish unaccompanied class members’
  8   right to a licensed placement pursuant to Settlement ¶¶ 19 and 21.
  9         First, proposed 8 C.F.R. § 410.203(a)(5) would grant ORR license to dispatch
 10   children to unlicensed placement when, in ORR’s opinion, a minor is “otherwise a
 11   danger to self or others,” a ground for secure confinement appearing nowhere in the
 12   Settlement and one so vague as to render Defendants’ obligation to “place each
 13   detained minor in the least restrictive setting appropriate to the minor's age and
 14   special needs” Settlement ¶ 11, all but meaningless.
 15         Next, Settlement ¶ 24A requires Defendants to afford children it detains on
 16   account of flight-risk or dangerousness a bond hearing at which a neutral and
 17   detached decisionmaker—an immigration judge—reviews ORR’s evidence for
 18
 19 located in Pennsylvania and defines a “secure” facility contrary to Defendants’
 20
    purposes. Though they never manage to say so, Defendants transparently intend to
    apply their definition to all three family detention centers regardless of what state law
 21 may or may not say.
 22   The Settlement provides that Defendants “will segregate unaccompanied minors
      21

 23 from unrelated adults. Where such segregation is not immediately possible, an
    unaccompanied minor will not be detained with an unrelated adult for more than 24
 24
    hours.” Settlement ¶ 12. Defendants’ proposed regulations fail to provide similar
 25 protections for detained minors.
 26       The Settlement also requires that detained class members be provided sleeping
    mats, blankets, and adequate space to sleep in CBP facilities. Order (June 27, 2017)
 27 (ECF No. 363). Here again, Defendants’ proposed regulations provide no analogous
 28 protection.
                                                 12          MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                       SETTLEMENT, ETC.
                                                                             CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 25 of 78 Page ID
                                #:25732


  1   refusing release. See generally, Flores v. Sessions, 862 F.3d at 863. The Proposed
  2   Rule would scuttle this protection. In its stead, HHS would allow unaccompanied
  3   children to request a hearing before one of their own officials, hardly a neutral and
  4   detached decisionmaker the Settlement demands. 83 Fed. Reg. at 45,509–45,510,
  5   45,533.
  6             As the Ninth Circuit held, “the bond hearing under Paragraph 24A is a
  7   fundamental protection guaranteed to unaccompanied minors.” Flores, 862 F.3d at
  8   867. HHS’s replacing class members’ fundamental protection against needless
  9   confinement with a pro forma process before its own personnel does not implement ¶
 10   24C at all. It rather reduces it to an empty formality.
 11             C.    The Proposed Rule replaces the Settlement’s mandatory protections
 12                   with aspirational statements of dubious enforceability.
 13             Defendants’ Proposed Rule promises to eviscerate the Settlement in yet another
 14   way: Whereas many of the Settlement’s core provisions use the verb “shall” to posit a
 15   mandatory, non-discretionary obligation, the Proposed Rule omits nearly all instances
 16   of “shall” from both DHS’s and HHS’s regulations and replaces them with
 17   declaratory substitutes. No great cynicism is required to conclude that Defendants’
 18   abjuring the mandatory “shall” aims to strip class members of nearly all unforceable
 19   rights the Settlement grants. Here again, the Proposed Rule repudiates the Settlement
 20   by dismantling its fundamental protections.
 21             The Settlement is suffused with repeated references to “shall,” a term which
 22   denotes a mandatory obligation. The Settlement uses “shall” in general provisions,
 23   definitions to key substantive rights and procedures, and policies regarding
 24   placement, custody, transfer, release, monitoring and attorney visits. A survey of the
 25   Settlement demonstrates heavy reliance on the mandatory term to create enforceable
 26   rights:
 27      • all homes and facilities operated by licensed programs “shall be non-secure,”
 28             Settlement ¶ 6;
                                                   13           MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                          SETTLEMENT, ETC.
                                                                                CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 26 of 78 Page ID
                                #:25733


  1        • Defendants “shall continue to treat all minors in its custody with dignity,
  2           respect and special concern for their particular vulnerability as minors.” Id. ¶
  3           11;
  4        • Defendants “shall place each detained minor in the least restrictive setting
  5           appropriate to the minor’s age and special needs.” Id.;
  6        • “A minor in deportation proceedings shall be afforded a bond redetermination
  7           hearing before an immigration judge in every case, unless the minor indicates
  8           on the Notice of Custody Determination form that he or she refuses such a
  9           hearing,” Id. ¶ 24A;
 10        • “Defendants shall provide minors not placed in licensed programs with a notice
 11           of the reasons for housing the minor in a detention or medium security
 12           facility.” Id. ¶ 24C;
 13           In contrast, the Proposed Rule strips the term “shall” from these and nearly all
 14   other of the Settlement’s substantive provisions, indicating that ORR will thereafter
 15   treat those provisions as optional.22
 16

 17   For example, the Settlement’s licensed program requirement, which requires that
      22


 18
    homes and facilities “shall be non-secure,” in the Proposed Rule reads: “All homes
    and facilities operated by a licensed program . . . are non-secure.” 83 Fed. Reg. at
 19 45,529.

 20        The requirement that INS “shall place” detained minors in the least restrictive
    setting appropriate to the minor’s age and special needs is replaced with a statement
 21
    that the Office of Refugee Resettlement “places” each minor in the least restrictive
 22 setting. Id.
 23       The Proposed Rule transforms the Settlement’s requirement that “minors shall
    be separated from delinquent offenders,” Settlement ¶ 12A, to “ORR separates UAC
 24
    from delinquent offenders.” 83 Fed. Reg. at 45,530.
 25       The Proposed Rule makes similar changes to provisions regarding DHS’s
 26 protocols. Compare Settlement ¶ 14 (when INS determines that detention is not
    required, the INS “shall release a minor from its custody”), with 83 Fed. Reg. at
 27 45,528 (“If DHS determines that detention of a minor who is not a UAC is not
 28 required . . . “the minor may be released” (emphasis added)).
                                                   14         MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                        SETTLEMENT, ETC.
                                                                              CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 27 of 78 Page ID
                                #:25734


  1         It is axiomatic that the term “shall” signifies a mandatory obligation.
  2   Kingdomware Techs., Inc. v. United States, 136 S. Ct. 1969, 1977 (2016) (“Unlike
  3   the word ‘may,’ which implies discretion, the word ‘shall’ usually connotes a
  4   requirement.”); accord Hill v. U.S. Immigr. & Naturalization Serv., 714 F.2d 1470,
  5   1475 (9th Cir. 1983); Uniform Law Commission (Nat’l Conference of Comm’rs on
  6   Uniform State Laws), Drafting Rules (2012) (recommending “shall” or “must” to
  7   “express a duty, obligation, requirement or condition precedent”).
  8         Inasmuch as the overwhelming weight of authority holds that “shall” creates a
  9   mandatory duty, Defendants’ deleting that term from the Proposed Rule demonstrates
 10   their resolve to strip class members of the protections the Settlement now confers.
 11   Again, that is a clear anticipatory breach of their rulemaking obligation: Defendants
 12   “shall initiate action to publish the relevant and substantive terms of this Agreement
 13   as a Service regulation. The final regulations shall not be inconsistent with the terms
 14   of this Agreement.” Settlement ¶ 9 (emphasis added).23
 15         D.     Defendants have unequivocally declared their resolve to esviscerate
 16                the protections the Settlement grants detained children.
 17         Even were the text of Defendants’ Proposed Rule not enough to place them in
 18   anticipatory breach, their statements would. Defendants have consistently inveighed
 19   against the Settlement and its class members, leaving no substantial doubt of their
 20   resolve to strip detained children of its protections.
 21         President Trump has demanded Congress terminate the Settlement. Letter to
 22   House & Senate Leaders & Immigration Principles and Policies (Oct. 8, 2017),
 23   available at www.whitehouse.gov/briefings-statements/president-donald-j-trumps-
 24
 25
      The foregoing has examined only some of the ways that the Proposed Rule fails to
      23

 26 implement class members’ Settlement rights. Appendix A attached hereto is a chart
    reporting numerous other conflicts between Defendants’ proposed regulations and the
 27
    Settlement.
 28
                                                  15           MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                         SETTLEMENT, ETC.
                                                                               CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 28 of 78 Page ID
                                #:25735


  1   letter-house-senate-leaders-immigration-principles-policies/.24 The President
  2   thereafter issued an executive order demanding the Court allow Defendants to detain
  3   accompanied children indefinitely in secure, unlicensed family detention facilities.
  4   Executive Order 13841 (June 20, 2018).
  5         Defendants have embraced the President’s call for ever-harsher treatment of
  6   class members and their family members—including separating families and
  7   detaining accompanied children indefinitely—as a deterrent to future unauthorized
  8   immigration. Steven Wagner, acting assistant secretary at HHS’s Administration for
  9   Children and Families, impugned the Settlement and the TVPRA as creating an
 10   “immigration loophole [in which] HHS is forced to release minors from Central
 11   America into the United States,” and releasing children as “an example of open
 12   borders,” that “creates an economic incentive for further violation of federal
 13   immigration law.” Illegal Immigrant Program Creating Proxy Foster Care System,
 14   Says Official, EPOCH TIMES (June 23, 2018); see also, U.S. Dep’t of Homeland
 15   Security, Unaccompanied Alien Children and Family Units Are Flooding the Border
 16   Because of Catch and Release Loopholes (Press Release, Feb. 15, 2018), available at
 17   www.dhs.gov/news/2018/02/15/unaccompanied-alien-children-and-family-units-are-
 18   flooding-border-because-catch-and (last visited Oct. 17, 2018) (“The Flores
 19   settlement agreement . . . handicap[s] the government’s ability to detain and promptly
 20   remove UACs. . . . These legal loopholes lead to ‘catch and release’ policies that act
 21   as a ‘pull factor’ for increased future illegal immigration.”); How the Trump
 22   Administration Got Comfortable Separating Immigrant Kids from Their Parents,
 23   NEW YORKER, (May 20, 2018) (reporting DHS’s family separation policy intended
 24
 25
      The President also continued to insist, notwithstanding this Court’s and the Ninth
      24

 26 Circuit’s rulings to the contrary, that “alien minors who are not UACs…are not
    entitled to the presumptions or protections granted to UACs.” Executive Order
 27
    13841.
 28
                                                 16         MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                      SETTLEMENT, ETC.
                                                                            CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 29 of 78 Page ID
                                #:25736


  1   “to discourage others from traveling to the United States illegally.”).
  2         Nor is there any question that the Proposed Rule aims to evade contractual
  3   obligations that Defendants presently deem inconvenient, never mind that they have
  4   repeatedly failed to prove that their objections warrant modification or recission of
  5   the Settlement.25 Upon announcing the Proposed Rule, DHS Secretary Nielsen stated:
  6         Today, legal loopholes significantly hinder the Department’s ability to
  7         appropriately detain and promptly remove family units that have no legal basis
  8         to remain in the country, . . . This rule addresses one of the primary pull factors
  9         for illegal immigration and allows the federal government to enforce
 10         immigration laws as passed by Congress.
 11   Pls.’ Ex. 3 (U.S. Dep’t of Homeland Security Press Release, “DHS and HHS
 12   Announce New Rule to Implement the Flores Settlement Agreement” (Sept. 6,
 13   2018)). Defendants are quite clear that in their view, “[p]romulgating this regulation
 14   and terminating the [Settlement] is an important step towards regaining control over
 15   the border.” Id.
 16         Defendants’ efforts to detain children indefinitely—in Defendants’ parlance,
 17   “ending catch-and-release”—leaves no doubt that actually implementing the
 18   Settlement is the last reason for the Proposed Rule. Defendants’ claiming that their
 19   regulations “implement the relevant and substantive terms” of the Settlement is, in
 20   Orwell’s formulation, transparently “designed to make lies sound truthful and . . .
 21   give an appearance of solidity to pure wind.” Politics and the English Language
 22   (1946). Their sole aim is to do away with the Settlement and the rights it gives
 23   detained children.
 24         E.     Defendants cannot conform the Proposed Rule with the Settlement
 25                without beginning the rulemaking process anew.
 26
      In 2015 this Court “considered in detail the evidence Defendants presented of the
      25
 27 deterrent effect of the detention policy and [found] the evidence distinctly lacking in
 28 scientific rigor.” Order re: Pls.’ Mot. to Enforce, at 23 (July 24, 2015) (ECF No. 177).
                                                 17         MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                      SETTLEMENT, ETC.
                                                                            CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 30 of 78 Page ID
                                #:25737


  1         Defendants’ Proposed Rule must conform to the notice and comment
  2   provisions of the Administrative Procedure Act, 5 U.S.C. § 553. A notice of proposed
  3   rulemaking must provide the substantive terms of the proposed regulation, a
  4   description of the issues involved, the agency’s rationale for its proposals, and the
  5   research or data underlying the agency’s proposal. 5 U.S.C. § 553(b)(3). A final rule
  6   is lawful only if its differences from the proposed rule are “in character with the
  7   original proposal” and a “logical outgrowth” of the original notice and comments.
  8   Envtl. Def. Ctr. v. U.S. Envtl. Protection Agency, 344 F.3d 832, 851 (9th Cir. 2003).
  9   The text of a final rule, therefore, may not be “distant” from that of what an agency
 10   initially proposed. Clean Air Council v. Pruitt, 862 F.3d 1, 10 (D.C. Cir. 2017); Nat.
 11   Res. Def. Council v. U.S. Envtl. Protection Agency, 279 F.3d 1180, 1186 (9th Cir.
 12   2002).
 13         As has been discussed in detail, the Proposed Rule flagrantly violates the
 14   Settlement. The Proposed Rule is so different from the Settlement that a final rule
 15   could not conform both to the Settlement and comply with the APA. Unless they
 16   withdraw the Proposed Rule and begin the rulemaking process anew, Defendants
 17   have necessarily repudiated the Settlement and are accordingly in anticipatory breach.
 18         F.     This Court has repeatedly found Defendants in breach of the
 19                Settlement; the available evidence shows Defendants have no
 20                intention of complying fully with the agreement.
 21         Even assuming, arguendo, the Proposed Rule and Defendants’ statements were
 22   at all equivocal, when considered with their past and continuing violations of the
 23   Settlement, there is little question that they intend to repudiate the agreement.
 24         Despite several court orders holding that the Settlement applies to accompanied
 25   minors, Defendants have repeatedly insisted that the Settlement does not apply to
 26   children apprehended with a parent. See Order re Pls.’ Mot. to Enforce, at *6;
 27   Bunikyte ex rel. Bunikiene v. Chertoff, No. A-07-CA-164-SS, 2007 WL 1074070, at
 28   *3 (W.D. Tex. Apr. 9, 2007).
                                                 18          MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                       SETTLEMENT, ETC.
                                                                             CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 31 of 78 Page ID
                                #:25738


  1         As for the Settlement’s release and licensed placement requirements,
  2   Defendants have likewise demonstrated a pattern and practice of violations. See
  3   Flores, 828 F.3d at 910; Order re Pls.’ Mot. to Enforce (July 30, 2018) (ECF 470);
  4   Order Denying Defs.’ Ex Parte Application (July 9, 2018) (ECF 455) (denying
  5   Defendants’ request to exempt accompanied children from Settlement’s licensure and
  6   release provisions); Order re Pls.’ Mot. to Enforce (July 24, 2015) (ECF 177);
  7   Bunikyte, No. A-07-CA-164-SS (W.D. Tex. 2015) (finding Flores violations related
  8   to family unit detention).
  9         This conduct leaves no doubt of Defendants’ resolve to strip children of rights
 10   the Settlement confers by promulgating regulations that esviscerate the agreement.
 11   Defendants’ releasing a Proposed Rule to terminate the Settlement and undermine its
 12   protections, together with their prior and continuing breaches of the Settlement,
 13   confirm Defendants’ anticipatory breach.
 14   IV.   THE COURT SHOULD ENJOIN DEFENDANTS AGAINST IMPLEMENTING REGULATIONS
 15         IN VIOLATION OF THE SETTLEMENT AND PROVISIONALLY ADJUDICATE THEM IN

 16         CIVIL CONTEMPT.

 17         A.     The Court should enjoin Defendants from implementing regulations
 18                that fail to implement and are inconsistent with the Settlement.
 19         Pursuant to the All Writs Act, this Court should enjoin the implementation of
 20   the Proposed Rule to protect its jurisdiction to enforce the Settlement.
 21         As has been seen, Defendants have “shown [their] intention continually to
 22   relitigate claims that have been previously” rejected. Wood v. Santa Barbara
 23   Chamber of Com., Inc., 705 F.2d 1515, 1524 (9th Cir. 1983); see also Pa. Bureau of
 24   Corr. v. U.S. Marshals Serv., 474 U.S. 34, 41 (1985) (the All Writs Act fills “the
 25   interstices of federal judicial power when those gaps threatened to thwart the
 26
 27
 28
                                                 19         MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                      SETTLEMENT, ETC.
                                                                            CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 32 of 78 Page ID
                                #:25739


  1   otherwise proper exercise of federal courts’ jurisdiction”).26
  2         In the alternative, to obtain injunctive relief, Plaintiffs must “demonstrate that
  3   irreparable injury is likely in the absence of an injunction,” Winter v. Nat. Res. Def.
  4   Council, Inc., 555 U.S. 7, 22 (2008), and that the harm is definite and will result in
  5   “actual and imminent injury.” Caribbean Marine Servs. Co. v. Baldrige, 844 F.2d
  6   668, 674 (9th Cir. 1988). “Subjective apprehensions and unsupported predictions . . .
  7   are not sufficient to satisfy a plaintiff's burden.” Caribbean Marine Servs. Co., 844
  8   F.2d at 674. Courts have interpreted “actual and imminent injury” to mean that
  9   “corrective relief” will not be available later “in the ordinary course of litigation.”
 10   Lydo Enters., Inc. v. City of Las Vegas, 745 F.2d 1211, 1213 (9th Cir. 1984). A
 11   moving party may demonstrate evidence of harm if “the defendant had, at the time of
 12   the injury, a written policy, and . . . the injury ‘stems from’ that policy.” Melendres v.
 13   Arpaio, 695 F.3d 990, 998 (9th Cir. 2012) (internal citation omitted). When the
 14   Government is a party to a dispute where a plaintiff seeks a preliminary injunction,
 15   the balancing of equities and public interest factors merge. Drakes Bay Oyster Co. v.
 16   Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014); see also Winter, 555 U.S. at 20.
 17         The Court should also enjoin Defendants’ Proposed Rule pursuant to Federal
 18   Rule of Civil Procedure 65, in order to protect class members from irreparable harm.
 19         There is scant doubt that Defendants’ implementing the Proposed Rule or its
 20   substantial equivalent will cause Plaintiffs irreparable harm. Without a Court order
 21   barring the implementation of the Proposed Rule, Plaintiffs will be subject overnight
 22   to new standards that are unrecognizable, contrary to their best interests, and violative
 23
 24
      26Unfortunately, neither res judicata nor collateral estoppel have proven effective
      against Defendants’ repetitive breaches of the Settlement. Defendants’ proposed
 25   rulemaking directly conflicts with at least three prior orders of this Court. See Klay v.
 26   United Healthgroup, Inc., 376 F.3d 1092, 1102 (11th Cir. 2004) (Pursuant to the All
      Writs Act, this Court may enjoin conduct “which, left unchecked, would have . . . the
 27   practice effect of diminishing the court’s power to bring the litigation to a natural
 28   conclusion.”).
                                                  20          MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                        SETTLEMENT, ETC.
                                                                              CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 33 of 78 Page ID
                                #:25740


  1   of the rights provided to them in the Settlement. Implementing the Proposed Rule
  2   would expose thousands of children held in immigration detention across the country
  3   to unlicensed and indefinite detention against which they would have no effective
  4   recourse.
  5         The balance of equities and public interest clearly favor the Court’s issuing an
  6   injunction as Plaintiffs request. On the one hand, the public interest in ensuring that
  7   children are not subjected to unnecessary trauma is clearly compelling. The
  8   Settlement stands as a bulwark protecting children’s basic rights to health, safety, and
  9   freedom from unnecessary physical restraint.
 10         On the other hand is Defendants’ discredited refrain: deterring would-be
 11   unauthorized entrants justifies using children as a tool of border control, as the
 12   Proposed Rule would allow. 83 Fed. Reg. at 45,493–45,494. This Court has already
 13   rejected Defendants’ “dubious and unconvincing” claims that long-term family
 14   detention policies bear any causal, let alone correlational, relationship to deterrence.
 15   Order, at *3 (July 9, 2018) (ECF No. 455).
 16         The balance of equities favors ensuring that thousands of detained minors may
 17   rely on the Settlement’s protections. Those should not vanish by dint of rulemaking
 18   that plainly fails to discharge Defendants’ obligation to implement the Settlement in
 19   good faith.
 20         B.      The Court should provisionally adjudicate Defendants in civil
 21                 contempt.
 22         Plaintiffs also request that the Court provisionally adjudicate the Defendants in
 23   contempt. The Court should make clear to Defendants that their implementing
 24   regulations in violation of ¶¶ 9 and 40 would place them in civil contempt.27
 25
 26
      Defendants have previously opposed the Court’s issuing remedial orders that would
      27

 27 foster consistent compliance with the Settlement, arguing that such relief is available
 28 only through civil contempt proceedings and not a motion to enforce. See, e.g., Defs.’
                                                 21          MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                       SETTLEMENT, ETC.
                                                                             CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 34 of 78 Page ID
                                #:25741


  1         This Court has the inherent authority to enforce its orders through civil
  2   contempt proceedings. Young v. United States ex rel. Vuitton et Fils, S.A., 481 U.S.
  3   787, 794 (1987); Primus Auto Fin. Servs., Inc. v. Batarse, 115 F.3d 644, 648 (9th Cir.
  4   1997). “Civil contempt in this context consists of a party’s disobedience to a specific
  5   and definite court order by failure to take all reasonable steps within the party’s
  6   power to comply.” In re Dual-Deck Video Cassette Recorder Antitrust Litig., 10 F.3d
  7   693, 695 (9th Cir. 1993).
  8         Defendants’ “contempt ‘need not be willful,’ and there is no good faith
  9   exception to the requirement of obedience to a court order.” Go-Video v. Motion
 10   Picture Ass’n of Am., 10 F.3d 693, 695 (9th Cir. 1993) (quoting In re Crystal Palace
 11   Gambling Hall, Inc., 817 F.2d 1361, 1365 (9th Cir. 1987)). Although “a person
 12   should not be held in contempt if his action appears to be based on a good faith and
 13   reasonable interpretation of the court’s order,” id., a party who violates the plain
 14   terms of a consent decree must have “taken all reasonable steps to comply” to avoid a
 15   finding of contempt. Gen. Signal Corp. v. Donallco, Inc., 787 F.2d 1376, 1379 (9th
 16   Cir. 1986).28
 17         The Settlement is both a contract and, by consent, a decree of this Court. Rufo,
 18   502 U.S. at 378. The prospective provisions of a consent decree may operate as an
 19   injunction. See United States v. Oregon, 913 F.2d 576, 580 (9th Cir. 1990) (citing
 20   with approval Williams v. Vukovich, 720 F.2d 909, 920 (6th Cir. 1983)); Plummer v.
 21   Chem. Bank, 668 F.2d 654, 659 (2d Cir. 1982); Reynolds v. McInnes, 338 F.3d 1201,
 22
      Opp’n to Mot. to Enforce Settlement, at 4 (May 25, 2018) (ECF No. 425). Plaintiffs
 23
      accordingly move for an adjudication of civil contempt.
 24
      Although Plaintiffs have the burden of showing by clear and convincing evidence
      28
 25 that the Defendants have violated a specific and definite order of the court, Fed.
 26 Trade Comm’n v. Affordable Media LLC, 179 F.3d 1228, 1239 (9th Cir. 1999)
    (internal citation omitted), the foregoing shows clearly that Plaintiffs have done so.
 27 The burden is now on Defendants to demonstrate why they have failed to comply
 28 with the Settlement and this Court’s several orders enforcing it. Id.
                                                 22          MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                       SETTLEMENT, ETC.
                                                                             CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 35 of 78 Page ID
                                #:25742


  1   1208 (11th Cir. 2003) (“[C]onsent decrees, like all injunctions, are to be enforced
  2   through the trial court’s civil contempt power.”).
  3          As discussed, the Settlement unambiguously obliges Defendants to promulgate
  4   regulations that faithfully implement the Settlement. Nonetheless, Defendants’
  5   Proposed Rule, the preface thereto, and numerous public statements, all supply clear
  6   and convincing—indeed, irrefutable and conclusive—evidence that they have not
  7   “taken all reasonable steps” to implement the Settlement. Instead, Defendants seek to
  8   deprive Plaintiffs of the benefit of the bargain.
  9          Both this Court and the Ninth Circuit have disapproved Defendants’
 10   disregarding the Settlement because of purported “conflicts” with subsequent
 11   legislation. E.g., Flores, 828 F.3d at 910 (“creation of statutory rights for
 12   unaccompanied minors does not make application of the Settlement to accompanied
 13   minors ‘impermissible.’”); Flores, 862 F.3d at 880–81 (rejecting Defendants’
 14   argument that providing class members bond hearings would conflict with subsequent
 15   legislation).
 16          Both have also disapproved Defendants’ disregarding the Settlement because
 17   of “changed circumstances” that they continue to argue make complying with the
 18   Settlement difficult. E.g., Flores, 828 F.3d at 909–10 (rejecting Defendants’
 19   argument “that the Settlement should be modified because of the surge in family units
 20   crossing the Southwest border.”); Order (July 9, 2018) (ECF No. 455) (declining to
 21   modify the Settlement on the basis of unsupported assertions that compliance with the
 22   Settlement has “caused the surge in border crossings”); see generally Rufo, 502 U.S.
 23   at 385 (where party anticipates “changing conditions that would make performance of
 24   the decree more onerous but nevertheless agreed to the decree,” it must “satisfy a
 25   heavy burden to convince a court that . . . [it] made a reasonable effort to comply with
 26   the decree, and should be relieved of the undertaking under Rule 60(b).”).
 27          Undaunted, Defendants seek to circumvent the courts’ prior rulings by
 28   recycling the same discredited arguments into their Proposed Rule. See, e.g., 83 Fed.
                                                  23         MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                       SETTLEMENT, ETC.
                                                                             CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 36 of 78 Page ID
                                #:25743


  1   Reg. at 45,488 (“The proposed regulations would take account of certain changed
  2   circusmtances”); id. (“compliance with the HSA, the TVPRA, other immigration law,
  3   and the [Settlement is] problematic”); id. at 45,494 (enforcement of the Settlement’s
  4   licensing requirement “correlated with a sharp increase in family migration.”).
  5         The Court should reject Defendants’ efforts to strip detained children of crucial
  6   rights that the Settlement confers. Defendants’ attempted end-run around of this
  7   Court’s jurisdiction and orders, and the Ninth Circuit’s rulings, is not inadvertently
  8   contemptuous: it is deliberately so.
  9   V.    CONCLUSION.
 10         For the foregoing reasons, this Court should grant this motion, enjoin
 11   Defendants from implementing regulations that are inconsistent with the Settlement,
 12   declare Defendants’ conduct as contrary to the Settlement and law, and provisionally
 13   adjudicate Defendants in civil contempt.
 14
 15
      Dated: November 2, 2018                    CARLOS R. HOLGUÍN,
                                                 PETER A. SCHEY
 16                                              Center for Human Rights &
 17                                              Constitutional Law

 18                                              LEECIA WELCH
                                                 NEHA DESAI
 19                                              National Center for Youth Law
 20
                                                 HOLLY S. COOPER
 21                                              CARTER WHITE
                                                 U.C. Davis School of Law
 22
                                                 ELENA GARCIA
 23
                                                 Orrick, Herrington & Sutcliffe, LLP
 24
                                                 LA RAZA CENTRO LEGAL, INC.
 25                                              Michael S. Sorgen (Cal. Bar No. 43107)
 26                                              THE LAW FOUNDATION OF SILICON VALLEY
 27                                              Jennifer Kelleher Cloyd
                                                 Katherine H. Manning
 28
                                                 Annette Kirkham
                                                 24         MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                                      SETTLEMENT, ETC.
                                                                            CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 37 of 78 Page ID
                                #:25744


  1                                       Of counsel:
  2                                       YOUTH LAW CENTER
                                          Virginia Corrigan (Cal. Bar No. 292035)
  3
  4                                             Carlos Holguín
  5                                            Carlos Holguín
  6                                              Peter Schey
  7                                            Peter Schey
  8
                                                Holly S. Cooper
  9                                            Holly S. Cooper
 10
 11
 12
 13
 14
 15
 16

 17
 18
 19

 20
 21
 22
 23
 24
 25
 26
 27
 28
                                          25         MEMORANDUM IN SUPPORT OF MOTION TO ENFORCE
                                                                               SETTLEMENT, ETC.
                                                                     CV 85-4544-DMG (AGRX)
                             Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 38 of 78 Page ID
                                                             #:25745



                                                                               APPENDIX A1
                                 FLORES SETTLEMENT AND PROPOSED RULE: ANALOGOUS PROVISIONS COMPARED
Issue2            Flores Settlement                                Proposed DHS Rule                                       Proposed HHS Rule
Definition of     ¶ 6:                                             § 236.3(b)(9); 83 Fed. Reg. 45,525:                     § 410.101; 83 Fed. Reg. 45,529:
“licensed         “The term ‘licensed program’ shall               “Licensed Facility means an ICE detention               “Licensed program means any program,
program”          refer to any program, agency or                  facility that is licensed by the state, county,         agency, or organization that is licensed by an
                  organization that is licensed by an              or municipality in which it is located, if such         appropriate State agency to provide residential,
                  appropriate State agency to provide              a licensing scheme exists. Licensed facilities          group, or foster care services for dependent
                  residential, group, or foster care               shall comply with all applicable state child            children, including a program operating group
                  services for dependent children,                 welfare laws and regulations and all state              homes, foster homes, or facilities for special
                  including a program operating group              and local building, fire, health, and safety            needs UAC. A licensed program must meet the
                  homes, foster homes, or facilities for           codes. If a licensing scheme for the detention          standards set forth in § 410.402 of this part. All
                  special needs minors.3 A licensed                of minors accompanied by a parent or legal              homes and facilities operated by a licensed
                  program must also meet those                     guardian is not available in the state, county,         program, including facilities for special needs
                  standards for licensed programs set              or municipality in which an ICE detention               minors, are non-secure as required under State
                  forth in Exhibit 1 attached hereto. All          facility is located, DHS shall employ an                law. However, a facility for special needs
                  homes and facilities operated by                 entity outside of DHS that has relevant audit           minors may maintain that level of security
                  licensed programs, including facilities          experience to ensure compliance with the                permitted under State law which is necessary
                  for special needs minors, shall be               family residential standards established by             for the protection of a UAC or others in
                  non-secure as required under state               ICE.”                                                   appropriate circumstances, e.g., cases in which
                  law; provided, however, that a facility                                                                  a UAC has drug or alcohol problems or is
                  for special needs minors may maintain            See also: § 236.3(i)(4); 83 Fed. Reg. 45,527:           mentally ill.”
                  that level of security permitted under           “Standards. Non-secure, licensed ICE
                  state law which is necessary for the             facilities to which minors who are not UACs
                  protection of a minor or others in               are transferred pursuant to the procedures in
                  appropriate circumstances, e.g., cases           paragraph (e) of this section shall abide by
                  in which a minor has drug or alcohol             applicable standards established by ICE.

         1
           Plaintiff counsel’s monitoring authority will cease once the Government issues final regulations replacing the Flores Settlement Agreement. The importance of
         the final regulations wholly and precisely implementing the provisions of the Agreement cannot be overestimated.
         2
           This Appendix highlights sections of the proposed regulations that are inconsistent with the Settlement. It is not intended to be an exhaustive list.
         3
           All text in this Appendix that is bolded has been done so by Plaintiffs’ counsel for emphasis.

                                                                                        1
                           Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 39 of 78 Page ID
                                                           #:25746



Issue2           Flores Settlement                           Proposed DHS Rule                                Proposed HHS Rule
                 problems or is mentally ill. The INS        At a minimum, such standards shall include
                 shall make reasonable efforts to            provisions or arrangements for the following
                 provide licensed placements in those        services for each minor who is not a UAC in
                 geographical areas where the majority       its care:…”
                 of minors are apprehended, such as
                 southern California, southeast Texas,
                 southern Florida and the northeast
                 corridor.”
Definition of    ¶ 7:                                        § 236.3(b); 83 Fed. Reg. 45,525:                 § 410.101; 83 Fed. Reg. 45,529:
“special needs   “The term "special needs minor" shall       “(2) Special Needs Minor means a minor           “Special needs minor means a UAC whose
minor”           refer to a minor whose mental and/or        whose mental and/or physical condition           mental and/or physical condition requires
                 physical condition requires special         requires special services and treatment as       special services and treatment by staff. A UAC
                 services and treatment by staff. A          identified during an individualized needs        may have special needs due to drug or alcohol
                 minor may have special needs due to         assessment as referenced in paragraph            abuse, serious emotional disturbance, mental
                 drug or alcohol abuse, serious              (i)(4)(iii) of this section. A minor may have    illness or retardation, or a physical condition or
                 emotional disturbance, mental illness       special needs due to drug or alcohol abuse,      chronic illness that requires special services or
                 or retardation, or a physical condition     serious emotional disturbance, mental illness    treatment. A UAC who has suffered serious
                 or chronic illness that requires special    or retardation, or a physical condition or       neglect or abuse may be considered a special
                 services or treatment. A minor who          chronic illness that requires special services   needs minor if the UAC requires special
                 has suffered serious neglect or abuse       or treatment. A minor who has suffered           services or treatment as a result of neglect or
                 may be considered a minor with              serious neglect or abuse may be considered a     abuse.”
                 special needs if the minor requires         minor with special needs if the minor
                 special services or treatment as a result   requires special services or treatment as a
                 of the neglect or abuse. The INS shall      result of the neglect or abuse.”                 § 410.208; 83 Fed. Reg. 45,531:
                 assess minors to determine if they                                                           “ORR assesses each UAC to determine if he or
                 have special needs and, if so, shall        § 236.3(i); 83 Fed. Reg. 45,526:                 she has special needs, and if so, places the
                 place such minors, whenever                 “In any case in which DHS does not release       UAC, whenever possible, in a licensed
                 possible, in licensed programs in           a minor who is not a UAC, said minor shall       program in which ORR places unaccompanied
                 which the INS places children               remain in DHS detention. Consistent with 6       alien children without special needs, but which
                 without special needs, but which            CFR 115.14, minors shall be detained in          provides services and treatment for such
                 provide services and treatment for          the least restrictive setting appropriate to     special needs.”
                 such special needs.”                        the minor’s age and special needs,

                                                                               2
                          Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 40 of 78 Page ID
                                                          #:25747



Issue2          Flores Settlement                            Proposed DHS Rule                               Proposed HHS Rule
                                                             provided that such setting is consistent
                                                             with the need to ensure the minor’s timely
                                                             appearance before DHS and the immigration
                                                             courts and to protect the minor’s well-
                                                             being and that of others, as well as with
                                                             any other laws, regulations, or legal
                                                             requirements.”

                                                             § 236.3(i)(4); 83 Fed. Reg. 45,527:
                                                             “Non-secure, licensed ICE facilities to which
                                                             minors who are not UACs are transferred
                                                             pursuant to the procedures in paragraph (e)
                                                             of this section shall abide by applicable
                                                             standards established by ICE. At a
                                                             minimum, such standards shall include
                                                             provisions or arrangements for the
                                                             following services for each minor who is
                                                             not a UAC in its care: . . . (iii) An
                                                             individualized needs assessment . . .”

Definition of   ¶8:                                          Preamble, 83 Fed. Reg. 45,497:                  § 410.101; 83 Fed. Reg. 45,529:
“medium         “The term "medium security facility"         “DHS does not propose to adopt the FSA’s        “Staff secure facility means a facility that is
security        shall refer to a facility that is operated   term ‘‘medium security facility’’ because       operated by a program, agency or organization
facility”       by a program, agency or organization         DHS does not maintain any medium security       licensed by an appropriate State agency and
                licensed by an appropriate State             facilities for the temporary detention of       that meets the standards for licensed programs
                agency and that meets those standards        minors, and the definition is now               set forth in § 410.402 of this part. A staff
                set forth in Exhibit 1 attached hereto.      unnecessary.”                                   secure facility is designed for a UAC who
                A medium security facility is                                                                requires close supervision but does not need
                designed for minors who require                                                              placement in a secure facility. It provides 24-
                close supervision but do not need                                                            hour awake supervision, custody, care, and
                placement in juvenile correctional                                                           treatment. It maintains stricter security
                facilities. It provides 24-hour awake                                                        measures, such as intensive staff supervision,

                                                                              3
                         Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 41 of 78 Page ID
                                                         #:25748



Issue2          Flores Settlement                          Proposed DHS Rule                                Proposed HHS Rule
                supervision, custody, care, and                                                             than a shelter in order to control problem
                treatment. It maintains stricter                                                            behavior and to prevent escape. A staff secure
                security measures, such as intensive                                                        facility may have a secure perimeter but is not
                staff supervision, than a facility                                                          equipped internally with major restraining
                operated by a licensed program in                                                           construction or procedures typically associated
                order to control problem behavior                                                           with correctional facilities.”
                and to prevent escape. Such a facility
                may have a secure perimeter but shall
                not be equipped internally with major
                restraining construction or procedures
                typically associated with correctional
                facilities.”


General         ¶11:                                       § 236.3(a)(1); 83 Fed. Reg. 45,525:              § 410.102; 83 Fed. Reg. 45,530:
applicability   “The INS treats, and shall continue to     “Generally. (1) DHS treats all minors and        “ORR shall hold UACs in facilities that are
                treat, all minors in its custody with      UACs in its custody with dignity, respect        safe and sanitary and that are consistent with
                dignity, respect and special concern       and special concern for their particular         ORR’s concern for the particular vulnerability
                for their particular vulnerability as      vulnerability.”                                  of minors. Within all placements, UAC shall
                minors. The INS shall place each                                                            be treated with dignity, respect, and special
                detained minor in the least restrictive    § 236.3(g)(2)(i); 83 Fed. Reg. 45,526:           concern for their vulnerability.”
                setting appropriate to the minor’s age     “Consistent with 6 CFR 115.114, minors and
                and special needs, provided that such      UACs shall be held in the least restrictive      § 410.201(a); 83 Fed. Reg. 45,530:
                setting is consistent with its interests   setting appropriate to the minor or UAC’s        “ORR places each UAC in the least restrictive
                to ensure the minor’s timely               age and special needs, provided that such        setting that is in the best interest of the child
                appearance before the INS and the          setting is consistent with the need to protect   and appropriate to the UAC’s age and special
                immigration courts and to protect the      the minor or UAC’s well-being and that of        needs, provided that such setting is consistent
                minor’s well-being and that of others.     others, as well as with any other laws,          with its interests to ensure the UAC’s timely
                Nothing herein shall require the INS to    regulations, or legal requirements.”             appearance before DHS and the immigration
                release a minor to any person or                                                            courts and to protect the UAC’s well-being and
                agency whom the INS has reason to          § 236.3(i); 83 Fed. Reg. 45,526-27:              that of others.”
                believe may harm or neglect the minor

                                                                             4
                         Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 42 of 78 Page ID
                                                         #:25749



Issue2         Flores Settlement                          Proposed DHS Rule                                 Proposed HHS Rule
               or fail to present him or her before the   “In any case in which DHS does not release
               INS or immigration courts when             a minor who is not a UAC, said minor shall
               requested to do so.”                       remain in DHS detention. Consistent with 6
                                                          CFR 115.14, minors shall be detained in the
                                                          least restrictive setting appropriate to the
                                                          minor’s age and special needs, provided that
                                                          such setting is consistent with the need to
                                                          ensure the minor’s timely appearance before
                                                          DHS and the immigration courts and to
                                                          protect the minor’s well-being and that of
                                                          others, as well as with any other laws,
                                                          regulations, or legal requirements.”

Notice of      ¶ 12A:                                     § 236.3(g)(2)(i); 83 Fed. Reg. 45,526:
rights upon    “Whenever the INS takes a minor into       “(i) Following the apprehension of a minor
apprehension   custody, it shall expeditiously process    or UAC, DHS will process the minor or
               the minor and shall provide the minor      UAC as expeditiously as possible.”
               with a notice of rights, including the
               right to a bond redetermination hearing    § 236.3(g)(1); 83 Fed. Reg. 45,526:
               if applicable.”                            “(i) Notice of rights and request for
                                                          disposition. Every minor or UAC who enters
                                                          DHS custody, including minors and UACs
                                                          who request voluntary departure or request
                                                          to withdraw their application for admission,
                                                          will be issued a Form I–770, Notice of
                                                          Rights and Request for Disposition, which
                                                          will include a statement that the minor or
                                                          UAC may make a telephone call to a parent,
                                                          close relative, or friend. If the minor or UAC
                                                          is believed to be less than 14 years of age, or
                                                          is unable to comprehend the information
                                                          contained in the Form I–770, the notice shall

                                                                            5
                          Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 43 of 78 Page ID
                                                          #:25750



Issue2          Flores Settlement                         Proposed DHS Rule                           Proposed HHS Rule
                                                          be read and explained to the minor or UAC
                                                          in a language and manner that he or she
                                                          understands. In the event that a minor or
                                                          UAC is no longer amenable to voluntary
                                                          departure or to a withdrawal of an
                                                          application for admission, the minor or UAC
                                                          will be issued a new Form I–770 or the Form
                                                          I–770 will be updated, as needed.”

                                                          § 236.3(g)(1); 83 Fed. Reg. 45,526:
                                                          “(ii) Notice of Right to Judicial Review.
                                                          Every minor who is not a UAC who is
                                                          transferred to or remains in a DHS detention
                                                          facility will be provided with a Notice of
                                                          Right to Judicial Review, which informs the
                                                          minor of his or her right to seek judicial
                                                          review in United States District Court with
                                                          jurisdiction and venue over the matter if the
                                                          minor believes that his or her detention does
                                                          not comply with the terms of paragraph (i) of
                                                          this section.”

Conditions for ¶ 12A:                                     § 236.3(g)(2)(i); 83 Fed. Reg. 45,526:           § 410.201(d); 83 Fed. Reg. 45,530:
the detention  “Following arrest, the INS shall hold       “DHS will hold minors and UACs in               “(d) Facilities where ORR places UAC will
of minors      minors in facilities that are safe and     facilities that are safe and sanitary and that   provide access to toilets and sinks, drinking
               sanitary and that are consistent with      are consistent with DHS’s concern for their      water and food as appropriate, medical
               the INS’s concern for the particular       particular vulnerability. Facilities will        assistance if the UAC is in need of emergency
               vulnerability of minors. Facilities will   provide access to toilets and sinks, drinking    services, adequate temperature control and
               provide access to toilets and sinks,       water and food as appropriate, access to         ventilation, adequate supervision to protect
               drinking water and food as                 emergency medical assistance as needed,          UAC from others, and contact with family
               appropriate, medical assistance if the     and adequate temperature and ventilation.        members who were arrested with the minor.”
               minor is in need of emergency              DHS will provide adequate supervision and

                                                                            6
                          Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 44 of 78 Page ID
                                                          #:25751



Issue2           Flores Settlement                         Proposed DHS Rule                               Proposed HHS Rule
                 services, adequate temperature control    will provide contact with family members
                 and ventilation, adequate supervision     arrested with the minor or UAC in
                 to protect minors from others, and        consideration of the safety and well-being
                 contact with family members who           of the minor or UAC, and operational
                 were arrested with the minor.”            feasibility.”

                                                           § 236.3(g)(2)((i); 83 Fed. Reg. 45,526:
                                                           “UACs generally will be held separately
                                                           from unrelated adult detainees in accordance
                                                           with 6 CFR 115.14(b) and 6 CFR
                                                           115.114(b). In the event that such separation
                                                           is not immediately possible, UACs in
                                                           facilities covered by 6 CFR 115.114 may be
                                                           housed with an unrelated adult for no
                                                           more than 24 hours except in the case of
                                                           an emergency or other exigent
                                                           circumstances.”
Conditions for ¶12A:                                       § 236.3(g)(2)(i); 83 Fed. Reg. 45526:           § 410.201(b); 83 Fed. Reg. 45,530:
the detention  “The INS will segregate                     “UACs generally will be held separately         “ORR separates UAC from delinquent
of minors      unaccompanied minors from unrelated         from unrelated adult detainees in accordance    offenders.”
               adults. Where such segregation is not       with 6 CFR 115.14(b) and 6 CFR
               immediately possible, an                    115.114(b). In the event that such separation
               unaccompanied minor will not be             is not immediately possible, UACs in
               detained with an unrelated adult for        facilities covered by 6 CFR 115.114 may be
               more than 24 hours. . . . However,          housed with an unrelated adult for no
               minors shall be separated from              more than 24 hours except in the case of
               delinquent offenders. Every effort          an emergency or other exigent
               must be taken to ensure that the            circumstances.”
               safety and well-being of the minors
               detained in these facilities are
               satisfactorily provided for by the staff.
               . . .”

                                                                            7
                           Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 45 of 78 Page ID
                                                           #:25752



Issue2           Flores Settlement                          Proposed DHS Rule                                Proposed HHS Rule
Emergency        ¶ 12A(3):                                  § 236.383(e)(1); Fed. Reg. 45,526:               § 410.201; 83 Fed. Reg. 45,530:
placement        “in the event of an emergency or           “In the case of an influx or emergency, as       “(e) If there is no appropriate licensed program
                 influx of minors into the United States,   defined in paragraph (b) of this section, DHS    immediately available for placement of a UAC
                 in which case the INS shall place all      will transfer a minor who is not a UAC, and      pursuant to Subpart B, and no one to whom
                 minors pursuant to Paragraph 19 as         who does not meet the criteria for secure        ORR may release the UAC pursuant to Subpart
                 expeditiously as possible; . . . ”         detention pursuant to paragraph (i)(1) of this   C, the UAC may be placed in an ORR-
                                                            section, to a licensed facility as defined in    contracted facility, having separate
                                                            paragraph (b)(9) of this section, which is       accommodations for minors, or a State or
                                                            non-secure, as expeditiously as possible.”       county juvenile detention facility. In addition
                                                                                                             to the requirement that UAC shall be separated
                                                                                                             from delinquent offenders, every effort must
                                                                                                             be taken to ensure that the safety and well-
                                                                                                             being of the UAC detained in these facilities
                                                                                                             are satisfactorily provided for by the staff.
                                                                                                             ORR makes all reasonable efforts to place
                                                                                                             each UAC in a licensed program as
                                                                                                             expeditiously as possible.”

Preparations     ¶ 12C:                                     § 236.383(e)(2); 83 Fed. Reg. 45,526:            § 410.209; 83 Fed. Reg. 45,531:
for an           “In preparation for an ‘emergency’ or      “. . . DHS will abide by written guidance        “In the event of an emergency or influx that
“emergency”      ‘influx,’ as described in Subparagraph     detailing all reasonable efforts that it will    prevents the prompt placement of UAC in
or “influx”      B, the INS shall have a written plan       take to transfer all minors who are not UACs     licensed programs, ORR makes all reasonable
                 that describes the reasonable efforts      as expeditiously as possible.”                   efforts to place each UAC in a licensed
                 that it will take to place all minors as                                                    program as expeditiously as possible using the
                 expeditiously as possible.”                                                                 following procedures.”

Release of a     ¶14:                                       § 236.3(j); 83 Fed. Reg. 45,528:                 § 410.301; 83 Fed. Reg. 45,531:
minor            “Where the INS determines that the         “Release of minors from DHS custody. DHS         “(a) ORR releases a UAC to an approved
required         detention of the minor is not required     will make and record prompt and continuous       sponsor without unnecessary delay, but may
except for two   either to secure his or her timely         efforts on its part toward the release of the    continue to retain custody of a UAC if ORR
circumstances    appearance before the INS or the           minor. DHS will make and record prompt           determines that continued custody is necessary
; order of       immigration court, or to ensure the        and continuous efforts on its part toward the    to ensure the UAC’s safety or the safety of

                                                                              8
                           Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 46 of 78 Page ID
                                                           #:25753



Issue2           Flores Settlement                            Proposed DHS Rule                                Proposed HHS Rule
preference for   minor’s safety or that of others, the        release of the minor. If DHS determines that     others, or that continued custody is required to
the release      INS shall release a minor from its           detention of a minor who is not a UAC is not     secure the UAC’s timely appearance before
                 custody without unnecessary delay, in        required to secure the minor’s timely            DHS or the immigration courts.
                 the following order of preference, to:       appearance before DHS or the immigration         (b) When ORR releases a UAC without
                     A. A parent;                             court, or to ensure the minor’s safety or the    unnecessary delay to an approved sponsor, it
                     B. A legal guardian;                     safety of others, the minor may be released,     releases in the following order of preference:
                     C. An adult relative (brother,           as provided under existing statutes and              (1) A parent;
                         sister, aunt, uncle, or              regulations, pursuant to the procedures set          (2) A legal guardian;
                         grandparent);                        forth in this paragraph. (1) DHS will release        (3) An adult relative (brother, sister, aunt,
                     D. An adult individual or entity         a minor from custody to a parent or legal            uncle, or grandparent);
                         designated by the parent or          guardian who is available to provide care            (4) An adult individual or entity designated
                         legal guardian as capable and        and physical custody. (2) Prior to releasing         by the parent or legal guardian as capable
                         willing to care for the minor’s      to a parent or legal guardian, DHS will use          and willing to care for the UAC’s well-
                         well-being in (i) a declaration      all available reliable evidence to determine         being in: (i) A declaration signed under
                         signed under penalty of perjury      whether the relationship is bona fide. If no         penalty of perjury before an immigration or
                         before an immigration or             reliable evidence is available that confirms         consular officer, or (ii) Such other
                         consular officer or (ii) such        the relationship, the minor will be treated as       document that establishes to the
                         other document(s) that               a UAC and transferred into the custody of            satisfaction of ORR, in its discretion, the
                         establish(es) to the satisfaction    HHS as outlined in paragraph (f) of this             affiant’s parental relationship or
                         of the INS, in its discretion, the   section. (3) For minors in DHS custody,              guardianship;
                         affiant’s paternity or               DHS shall assist without undue delay in              (5) A licensed program willing to accept
                         guardianship;                        making transportation arrangements to the            legal custody; or
                     E. A licensed program willing to         DHS office nearest the location of the person        (6) An adult individual or entity seeking
                         accept legal custody; or             to whom a minor is to be released. DHS               custody, in the discretion of ORR, when it
                 An adult individual or entity seeking        may, in its discretion, provide transportation       appears that there is no other likely
                 custody, in the discretion of the INS,       to minors. (4) Nothing herein shall require          alternative to long term custody, and
                 when it appears that there is no other       DHS to release a minor to any person or              family reunification does not appear to be a
                 likely alternative to long term              agency whom DHS has reason to believe                reasonable possibility.”
                 detention and family reunification           may harm or neglect the minor or fail to
                 does not appear to be a reasonable           present him or her before DHS or the
                 possibility.”                                immigration courts when requested to do
                                                              so.”

                                                                                9
                          Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 47 of 78 Page ID
                                                          #:25754



Issue2           Flores Settlement                       Proposed DHS Rule                                 Proposed HHS Rule

                                                         83 Fed. Reg. 45,503:
                                                         “Once it is determined that the applicable
                                                         statutes and regulations permit release,
                                                         proposed § 236.3(j) would permit release
                                                         of a minor only to a parent or legal
                                                         guardian who is available to provide care
                                                         and custody, in accordance with the TVPRA,
                                                         using the same factors for determining
                                                         whether release is appropriate as are
                                                         contained in paragraph 14.”

                                                         83 Fed. Reg. 45,516:
                                                         “The proposed rule adds that any decision to
                                                         release must follow a determination that
                                                         such release is permitted by law, including
                                                         parole regulations. In addition, the proposed
                                                         rule does not codify the list of individuals to
                                                         whom a non-UAC minor can be released,
                                                         because the TVPRA has overtaken this
                                                         provision. Per the TVPRA, DHS does not
                                                         have the authority to release juveniles to
                                                         non-parents or legal guardians. Under the
                                                         TVPRA, DHS may release a juvenile to a
                                                         parent or legal guardian only.”

Requirements     ¶15:                                                                                      § 410.302(e); 83 Fed. Reg. 45,531:
for the          “Before a minor is released from INS                                                      (e) The proposed sponsor must sign an
custodian of a   custody pursuant to Paragraph 14                                                          affidavit of support and a custodial release
minor to be      above, the custodian must execute an                                                      agreement of the conditions of release. The
released         Affidavit of Support (Form I-134) and                                                     custodial release agreement requires that the
                 an agreement to:                                                                          sponsor:

                                                                          10
                   Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 48 of 78 Page ID
                                                   #:25755



Issue2   Flores Settlement                           Proposed DHS Rule         Proposed HHS Rule
         A. provide for the minor's physical,                                  (1) Provide for the UAC’s physical, mental,
         mental, and financial well-being;                                     and financial well-being;
         B. ensure the minor's presence at all                                 (2) Ensure the UAC’s presence at all future
         future proceedings before the INS and                                 proceedings before DHS and the immigration
         the immigration court;                                                courts;
         C. notify the INS of any change of                                    (3) Ensure the UAC reports for removal
         address within five (5) days following                                from the United States if so ordered;
         a move;                                                               (4) Notify ORR, DHS, and the Executive
         D. in the case of custodians other than                               Office for Immigration Review of any change
         parents or legal guardians, not transfer                              of address within five days following a move;
         custody of the minor to another party                                 (5) Notify ORR and DHS at least five days
         without the prior written permission of                               prior to the sponsor’s departure from the
         the District Director;                                                United States, whether the departure is
         E. notify the INS at least five days                                  voluntary or pursuant to a grant of voluntary
         prior to the custodian's departing the                                departure or an order of removal;
         United States of such departure,                                      (6) Notify ORR and DHS if dependency
         whether the departure is voluntary or                                 proceedings involving the UAC are initiated
         pursuant to a grant of voluntary                                      and also notify the dependency court of any
         departure or order of deportation; and                                immigration proceedings pending against the
         F. if dependency proceedings                                          UAC;
         involving the minor are initiated,                                    (7) Receive written permission from ORR if
         notify the INS of the initiation of a                                 the sponsor decides to transfer legal custody of
         such proceedings and the dependency                                   the UAC to someone else. Also, in the event of
         court of any immigration proceedings                                  an emergency (e.g., serious illness or
         pending against the minor.                                            destruction of the home), a sponsor may
                                                                               transfer temporary physical custody of the
         In the event of an emergency, a                                       UAC prior to securing permission from ORR,
         custodian may transfer temporary                                      but the sponsor must notify ORR as soon as
         physical custody of a minor prior to                                  possible and no later than 72 hours after the
         securing permission from the INS but                                  transfer; and
         shall notify the INS of the transfer as                               (8) Notify ORR and DHS as soon as possible
         soon as is practicable thereafter, but in                             and no later than 24 hours of learning that

                                                                  11
                       Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 49 of 78 Page ID
                                                       #:25756



Issue2        Flores Settlement                          Proposed DHS Rule         Proposed HHS Rule
              all cases within 72 hours. For purposes                              the UAC has disappeared, has been
              of this Paragraph, examples of an                                    threatened, or has been contacted in any
              "emergency" shall include the serious                                way by an individual or individuals believed
              illness of the custodian, destruction of                             to represent an immigrant smuggling
              the home, etc. In all cases where the                                syndicate or organized crime.
              custodian in writing seeks written
              permission for a transfer, the District
              Director shall promptly respond to the
              request.”

Custodian     ¶17:                                                                 § 410.302; 83 Fed. Reg. 45,531-32:
suitability   “A positive suitability assessment may                               “(b) ORR requires a background check,
assessment    be required prior to release to any                                  including verification of identity and which
              individual or program pursuant to                                    may include verification of employment of the
              Paragraph 14. A suitability assessment                               individuals offering support, prior to release.
              may include such components as an                                    (c) ORR also may require further suitability
              investigation of the living conditions                               assessment, which may include interviews of
              in which the minor would be placed                                   members of the household, investigation of the
              and the standard of care he would                                    living conditions in which the UAC would be
              receive, verification of identity and                                placed and the standard of care he or she
              employment of the individuals                                        would receive, a home visit, a fingerprint-
              offering support, interviews of                                      based background and criminal records
              members of the household, and a home                                 check on the prospective sponsor and on
              visit. Any such assessment should also                               adult residents of the prospective sponsor’s
              take into consideration the wishes and                               household, and follow-up visits after release.
              concerns of the minor.”                                              Any such assessment also takes into
                                                                                   consideration the wishes and concerns of the
                                                                                   UAC. (d) If the conditions identified in
                                                                                   TVPRA at 8 U.S.C. 1232(c)(3)(B) are met, and
                                                                                   require a home study, no release to a sponsor
                                                                                   may occur in the absence of such a home
                                                                                   study.”

                                                                      12
                          Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 50 of 78 Page ID
                                                          #:25757



Issue2           Flores Settlement                         Proposed DHS Rule                               Proposed HHS Rule

Efforts for      ¶18:                                      § 236.3(j); 83 Fed. Reg. 45,528:                § 410.201(f); 83 Fed. Reg. 45,530:
family           “Upon taking a minor into custody, the    “DHS will make and record prompt and            “ORR makes and records the prompt and
reunification    INS, or the licensed program in which     continuous efforts on its part toward the       continuous efforts on its part toward family
required         the minor is placed, shall make and       release of the minor.”                          reunification. ORR continues such efforts at
                 record the prompt and continuous                                                          family reunification for as long as the minor
                 efforts on its part toward family                                                         is in ORR custody.”
                 reunification and the release of the
                 minor pursuant to Paragraph 14 above.
                 Such efforts at family reunification
                 shall continue so long as the minor is
                 in INS custody.”


Licensed         ¶ 19:                                     § 236.3(i); 83 Fed. 45,526:                     § 410.202; 83 Fed. 45,530
placement        “In any case in which the INS does not    “The minor shall be placed temporarily in a     “(a) ORR places UAC into a licensed program
default if not   release a minor pursuant to Paragraph     licensed facility, which will be non-secure,    promptly after a UAC is transferred to ORR
released         14, the minor shall remain in INS legal   until such time as release can be effected or   legal custody, except in the following
                 custody. Except as provided in            until the minor’s immigration proceedings       circumstances: (1) UAC meeting the criteria
                 Paragraphs 12 or 21, such minor shall     are concluded, whichever occurs earlier. If     for placement in a secure facility set forth in §
                 be placed temporarily in a licensed       immigration proceedings are concluded           410.203 of this part; (2) As otherwise required
                 program until such time as release can    and result in a final order of removal,         by any court decree or court-approved
                 be effected in accordance with            DHS will detain the minor for the purpose       settlement; or, (3) In the event of an
                 Paragraph 14 above or until the           of removal. If immigration proceedings          emergency or influx of UAC into the United
                 minor's immigration proceedings are       result in a grant of relief or protection       States, in which case ORR places the UAC as
                 concluded, whichever occurs earlier.      from removal where both parties have            expeditiously as possible in accordance with §
                 All minors placed in such a licensed      waived appeal or the appeal period              410.209 of this part; or (4) If a reasonable
                 program remain in the legal custody of    defined in 8 CFR 1003.38(b) has expired,        person would conclude that the UAC is an
                 the INS and may only be transferred or    DHS will release the minor.”                    adult despite his or her claims to be a minor.”
                 released under the authority of the
                 INS; provided, however, that in the       § 236.3(i)(5); 83 Fed. 45,528:                  § 410.207; 83 Fed. Reg. 45,531:
                 event of an emergency a licensed
                                                                            13
                      Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 51 of 78 Page ID
                                                      #:25758



Issue2      Flores Settlement                           Proposed DHS Rule                                Proposed HHS Rule
            program may transfer temporary              “In the event of an emergency, a licensed,       “A UAC who is placed in a licensed program
            physical custody of a minor prior to        non-secure facility described in paragraph (i)   pursuant to this subpart remains in the custody
            securing permission from the INS but        of this section may transfer temporary           of ORR, and may only be transferred or
            shall notify the INS of the transfer as     physical custody of a minor prior to securing    released under its authority in the event of an
            soon as is practicable thereafter, but in   permission from DHS, but shall notify DHS        emergency, a licensed program may transfer
            all cases within 8 hours.”                  of the transfer as soon as is practicable        temporarily the physical placement of a UAC
                                                        thereafter, but in all cases within 8 hours.”    prior to securing permission from ORR, but
                                                                                                         must notify ORR of the transfer as soon as
                                                                                                         possible, but in all cases within eight hours of
                                                                                                         the transfer. Upon release to an approved
                                                                                                         sponsor, a UAC is no longer in the custody of
                                                                                                         ORR.”

Secure      ¶21:                                        § 236.3(i)(1); 83 Fed. 45,527:                   § 410.203; 83 Fed. 45,530:
placement   “A minor may be held in or transferred      “(1) A minor who is not a UAC referenced         “(a) Notwithstanding § 410.202 of this part,
criteria    to a suitable State or county juvenile      under this paragraph may be held in or           ORR may place a UAC in a secure facility if
            detention facility or a secure INS          transferred to a suitable state or county        the UAC:
            detention facility, or INS-contracted       juvenile detention facility, or a secure DHS     (1) Has been charged with, is chargeable, or
            facility, having separate                   detention facility, or DHS contracted facility   has been convicted of a crime, or is the subject
            accommodations for minors whenever          having separate accommodations for minors,       of delinquency proceedings, has been
            the District Director or Chief Patrol       whenever the Field Office Director and the       adjudicated delinquent, or is chargeable with a
            Agent determines that the minor:            ICE supervisory or management                    delinquent act, and where ORR deems those
            A. has been charged with, is                personnel have probable cause to believe         circumstances demonstrate that the UAC poses
            chargeable, or has been convicted of a      that the minor:                                  a danger to self or others. ‘‘Chargeable’’
            crime, or is the subject of delinquency     (i) Has been charged with, is chargeable         means that ORR has probable cause to
            proceedings, has been adjudicated           with, or has been convicted of a crime or        believe that the UAC has committed a
            delinquent, or is chargeable with a         crimes, or is the subject of delinquency         specified offense. This provision does not
            delinquent act; provided, however,          proceedings, has been adjudicated                apply to a UAC whose offense is: (i) An
            that this provision shall not apply to      delinquent, or is chargeable with a              isolated offense that was not within a pattern
            any minor whose offense(s) fall(s)          delinquent act or acts, that fit within a        or practice of criminal activity and did not
            within either of the following              pattern or practice of criminal activity;        involve violence against a person or the use or
            categories:                                                                                  carrying of a weapon; or (ii) A petty offense,

                                                                         14
                  Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 52 of 78 Page ID
                                                  #:25759



Issue2   Flores Settlement                          Proposed DHS Rule                                Proposed HHS Rule
         i) Isolated offenses that (1) were not     (ii) Has been charged with, is chargeable        which is not considered grounds for stricter
         within a pattern or practice of            with, or has been convicted of a crime or        means of detention in any case;
         criminal activity and (2) did not          crimes, or is the subject of delinquency         (2) While in DHS or ORR’s custody or while
         involve violence against a person or       proceedings, has been adjudicated                in the presence of an immigration officer, has
         the use or carrying of a weapon            delinquent, or is chargeable with a              committed, or has made credible threats to
         (Examples: breaking and entering,          delinquent act or acts, that involve violence    commit, a violent or malicious act (whether
         vandalism, DUI, etc. This list is not      against a person or the use or carrying of       directed at himself/herself or others);
         exhaustive.);                              a weapon;                                        (3) Has engaged, while in a licensed program
         ii) Petty offenses, which are not          (iii) Has committed, or has made credible        or staff secure facility, in conduct that has
         considered grounds for stricter            threats to commit, a violent or malicious act    proven to be unacceptably disruptive of the
         means of detention in any case             (whether directed at himself or others) while    normal functioning of the licensed program or
         (Examples: shoplifting, joy riding,        in federal or state government custody or        staff secure facility in which he or she has been
         disturbing the peace, etc. This list is    while in the presence of an immigration          placed and removal is necessary to ensure the
         not exhaustive.);                          officer;                                         welfare of the UAC or others, as determined
         As used in this paragraph,                 (iv) Has engaged, while in the licensed          by the staff of the licensed program or staff
         "chargeable" means that the INS            facility, in conduct that has proven to be       secure facility (e.g., drug or alcohol abuse,
         has probable cause to believe that         unacceptably disruptive of the normal            stealing, fighting, intimidation of others, or
         the individual has committed a             functioning of the licensed facility in which    sexually predatory behavior), and ORR
         specified offense;                         the minor has been placed and transfer to        determines the UAC poses a danger to self or
         B. has committed, or has made              another facility is necessary to ensure the      others based on such conduct;
         credible threats to commit, a violent or   welfare of the minor or others, as determined    (4) For purposes of placement in a secure
         malicious act (whether directed at         by the staff of the licensed facility;           RTC, if a licensed psychologist or psychiatrist
         himself or others) while in INS legal      (v) Is determined to be an escape-risk           determines that the UAC poses a risk of harm
         custody or while in the presence of an     pursuant to paragraph (b)(6) of this section;    to self or others.
         INS officer;                               or                                               (5) Is otherwise a danger to self or others. (b)
         C. has engaged, while in a licensed        (vi) Must be held in a secure facility for his   ORR Federal Field Specialists review and
         program, in conduct that has proven to     or her own safety.”                              approve all placements of UAC in secure
         be unacceptably disruptive of the                                                           facilities consistent with legal requirements.”
         normal functioning of the licensed         See also:
         program in which he or she has been        § 236.3(i)(3); 83 Fed. 45,527:
         placed and removal is necessary to         “(3) Non-secure facility. Unless a secure
         ensure the welfare of the minor or         facility is otherwise authorized pursuant to

                                                                     15
                           Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 53 of 78 Page ID
                                                           #:25760



Issue2           Flores Settlement                           Proposed DHS Rule                                Proposed HHS Rule
                 others, as determined by the staff of       this section, ICE facilities used for the
                 the licensed program (Examples: drug        detention of minors who are not UACs shall
                 or alcohol abuse, stealing, fighting,       be non-secure facilities.
                 intimidation of others, etc. This list is
                 not exhaustive.);                           But see contra:
                 D. is an escape-risk; or                    § 236.3(b)(11); 83 Fed. 45,525:
                 E. must be held in a secure facility for    “Non-Secure Facility means a facility that
                 his or her own safety, such as when         meets the definition of nonsecure in the state
                 the INS has reason to believe that a        in which the facility is located. If no such
                 smuggler would abduct or coerce a           definition of nonsecure exists under state
                 particular minor to secure payment          law, a DHS facility shall be deemed non-
                 of smuggling fees.”                         secure if egress from a portion of the
                                                             facility’s building is not prohibited through
                                                             internal locks within the building or exterior
                                                             locks and egress from the facility’s premises
                                                             is not prohibited through secure fencing
                                                             around the perimeter of the building.”

                                                             See also: Commentary at 83 Fed. Reg.
                                                             45,501.


Prohibition      ¶ 23:                                       § 236.3(i)(2); 83 Fed. Reg. 45,527:              § 410.205; 83 Fed. Reg. 45,531:
against          “The INS will not place a minor in a        “DHS will not place a minor who is not a         “ORR does not place a UAC in a secure
default secure   secure facility pursuant to Paragraph       UAC in a secure facility pursuant to             facility pursuant to § 410.203 of this part if
placement        21 if there are less restrictive            paragraph (i)(1) if there are less restrictive   less restrictive alternatives are available and
                 alternatives that are available and         alternatives that are available and              appropriate under the circumstances. ORR
                 appropriate in the circumstances, such      appropriate in the circumstances, such as        may place a UAC in a staff secure facility or
                 as transfer to (a) a medium security        transfer to a facility which would provide       another licensed program as an alternative
                 facility which would provide intensive      intensive staff supervision and counseling       to a secure facility.”
                 staff supervision and counseling            services or another licensed facility. All
                 services or (b) another licensed            determinations to place a minor in a secure

                                                                               16
                        Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 54 of 78 Page ID
                                                        #:25761



Issue2         Flores Settlement                         Proposed DHS Rule                                   Proposed HHS Rule
               program. All determinations to place a    facility will be reviewed and approved by
               minor in a secure facility will be        the Juvenile Coordinator referenced in
               reviewed and approved by the regional     paragraph (o) of this section. Secure
               juvenile coordinator.”                    facilities shall permit attorney-client visits in
                                                         accordance with applicable facility rules and
                                                         regulations.”

                                                         But see contra 83 Fed. Reg. 45,525: “(11)
                                                         Non-Secure Facility means a facility that
                                                         meets the definition of non-secure in the
                                                         state in which the facility is located. If no
                                                         such definition of non-secure exists under
                                                         state law, a DHS facility shall be deemed
                                                         non-secure if egress from a portion of the
                                                         facility’s building is not prohibited through
                                                         internal locks within the building or exterior
                                                         locks and egress from the facility’s premises
                                                         is not prohibited through secure fencing
                                                         around the perimeter of the building.”

Right to a     ¶24A:                                     § 236.3(m); 83 Fed. Reg. 45,528:                    § 410.810; 83 Fed. Reg. 45,533:
bond hearing   “A minor in deportation proceedings       “Bond determinations made by DHS for                (a) A UAC may request that an independent
               shall be afforded a bond                  minors who are in removal proceedings               hearing officer employed by HHS determine,
               redetermination hearing before an         pursuant to section 240 of the Act and              through a written decision, whether the UAC
               immigration judge in every case,          who are also in DHS custody may be                  would present a risk of danger to the
               unless the minor indicates on the         reviewed by an immigration judge pursuant           community or risk of flight if released. (1)
               Notice of Custody Determination form      to 8 CFR part 1236 to the extent permitted          Requests under this section may be made by
               that he or she refuses such a hearing.”   by 8 CFR 1003.19. Minors in DHS custody             the UAC, his or her legal representative, or his
                                                         who are not in section 240 proceedings are          or her parent or legal guardian. (2) UACs
                                                         ineligible to seek review by an immigration         placed in secure or staff secure facilities will
                                                         judge of their DHS custody determinations.”         receive a notice of the procedures under this
                                                                                                             section and may use a form provided to them

                                                                           17
                 Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 55 of 78 Page ID
                                                 #:25762



Issue2   Flores Settlement               Proposed DHS Rule                             Proposed HHS Rule
                                         See also 83 Fed. Reg. 45,504:                 to make a written request for a hearing under
                                         “The proposed regulations at § 236.3(m)       this section.
                                         provide for review of DHS bond                (b) In hearings conducted under this section,
                                         determinations by immigration judges to the   the burden is on the UAC to show that he or
                                         extent permitted by 8 CFR 1003.19, but        she will not be a danger to the community
                                         only for those minors: (1) Who are in         (or risk of flight) if released, using a
                                         removal proceedings under INA section 240,    preponderance of the evidence standard.
                                         8 U.S.C. 1229a; and (2) who are in DHS        (c) In hearings under this section, the UAC
                                         custody. Those minors who are not in          may be represented by a person of his or her
                                         section 240 proceedings are ineligible to     choosing, at no cost to the government. The
                                         seek review by an immigration judge of        UAC may present oral and written evidence to
                                         their DHS custody determination.”             the hearing officer and may appear by video or
                                                                                       teleconference. ORR may also choose to
                                                                                       present evidence either in writing, or by
                                                                                       appearing in person, or by video or
                                                                                       teleconference.
                                                                                       (d) A hearing officer’s decision that a UAC
                                                                                       would not be a danger to the community (or
                                                                                       risk of flight) if released is binding upon ORR,
                                                                                       unless the provisions of paragraph (e) of this
                                                                                       section apply.
                                                                                       (e) A hearing officer’s decision under this
                                                                                       section may be appealed to the Assistant
                                                                                       Secretary of the Administration for
                                                                                       Children and Families. Any such appeal
                                                                                       request shall be in writing, and must be
                                                                                       received within 30 days of the hearing officer
                                                                                       decision. The Assistant Secretary will reverse
                                                                                       a hearing officer decision only if there is a
                                                                                       clear error of fact, or if the decision includes
                                                                                       an error of law. Appeal to the Assistant
                                                                                       Secretary shall not effect a stay of the hearing

                                                         18
                 Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 56 of 78 Page ID
                                                 #:25763



Issue2   Flores Settlement               Proposed DHS Rule                   Proposed HHS Rule
                                                                             officer’s decision to release the UAC, unless
                                                                             within five business days of such hearing
                                                                             officer decision, the Assistant Secretary issues
                                                                             a decision in writing that release of the UAC
                                                                             would result in a significant danger to the
                                                                             community. Such a stay decision must include
                                                                             a description of behaviors of the UAC while in
                                                                             care and/or documented criminal or juvenile
                                                                             behavior records from the UAC demonstrating
                                                                             that the UAC would present a danger to
                                                                             community if released.
                                                                             (f) Decisions under this section are final and
                                                                             binding on the Department, and a UAC may
                                                                             only seek another hearing under this section
                                                                             if the UAC can demonstrate a material
                                                                             change in circumstances. Similarly, ORR
                                                                             may request the hearing officer to make a new
                                                                             determination under this section if at least one
                                                                             month has passed since the original decision,
                                                                             and ORR can show that a material change in
                                                                             circumstances means the UAC should no
                                                                             longer be released.
                                                                             (g) This section cannot be used to determine
                                                                             whether a UAC has a suitable sponsor, and
                                                                             neither the hearing officer nor the Assistant
                                                                             Secretary may order the UAC released.
                                                                             (h) This section may not be invoked to
                                                                             determine the UAC’s placement while in
                                                                             ORR custody. Nor may this section be
                                                                             invoked to determine level of custody for the
                                                                             UAC.”


                                                      19
                           Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 57 of 78 Page ID
                                                           #:25764



Issue2           Flores Settlement                            Proposed DHS Rule                              Proposed HHS Rule
Right to         ¶24B:                                        See, generally 83 Fed. Reg. 45,5317:           83 Fed. Reg. 45,508:
judicial         “Any minor who disagrees with the            “(Note: The proposed rule does not expressly   “Also, once these regulations are finalized and
review of        INS’s determination to place that            provide for judicial review of placement/      the FSA is terminated, it would be even clearer
placement in a   minor in a particular type of facility, or   compliance, but does not expressly bar such    that any review by judicial action must occur
particular       who asserts that the licensed program        review.).”                                     under a statute where the government has
facility         in which he or she has been placed                                                          waived sovereign immunity, such as the
                 does not comply with the standards set       See, also § 236.3(g)(ii); 83 Fed. Reg. 45,526: Administrative Procedure Act. Therefore, we
                 forth in Exhibit 1 attached hereto, may      “(ii) Every minor who is not a UAC who is      are not proposing regulations for most of
                 seek judicial review in any United           transferred to or remains in a DHS detention paragraphs 24(B) and 24(C) of the FSA,
                 States District Court with jurisdiction      facility will be provided with a Notice of     although we do propose that all UACs will
                 and venue over the matter to challenge       Right to Judicial Review, which informs        continue to receive a notice . . .”
                 that placement determination or to           the minor of his or her right to seek
                 allege noncompliance with the                judicial review in United States District      See also 83 Fed. Reg. 45,510:
                 standards set forth in Exhibit 1. In         Court with jurisdiction and venue over the     “Furthermore, while the FSA contains
                 such an action, the United States            matter if the minor believes that his or her   procedures for judicial review of a UAC’s
                 District Court shall be limited to           detention does not comply with the terms of placement in a secure or staff-secure shelter,
                 entering an order solely affecting the       paragraph (i) of this section.”                and a standard of review, once these
                 individual claims of the minor                                                              regulations are finalized and the FSA is
                 bringing the action.”                                                                       vacated, any review by judicial actions would
                                                                                                             occur in accordance with the Administrative
                 ¶ 24(D):                                                                                    Procedure Act and any other applicable
                 “The INS shall promptly provide each                                                        Federal statute. Therefore, we are not
                 minor not released with (a) INS Form                                                        proposing regulations for most of
                 I-770, (b) an explanation of the right                                                      paragraphs 24(B) and 24(C) of the FSA.”
                 of judicial review as set out in Exhibit
                 6, and (c) the list of free legal services
                 available in the district pursuant to
                 INS regulations (unless previously
                 given to the minor).”
Notice           ¶ 24C:                                                          [none]                      § 410.206; 83 Fed. Reg. 45,531:
requirement      “In order to permit judicial review of                                                      “Within a reasonable period of time, ORR
                 Defendants’ placement decisions as           See also table at 83 Fed. Reg. 45,517          provides each UAC placed or transferred to a

                                                                               20
                         Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 58 of 78 Page ID
                                                         #:25765



Issue2          Flores Settlement                        Proposed DHS Rule                             Proposed HHS Rule
                provided in this Agreement,                                                            secure or staff secure facility with a notice of
                Defendants shall provide minors not                                                    the reasons for the placement in a language
                placed in licensed programs with a                                                     the UAC understands.”
                notice of the reasons for housing the
                minor in a detention or medium                                                         § 410.801; 83 Fed. Reg. 45,533:
                security facility.”                                                                     “For UACs not placed in licensed programs,
                                                                                                       ORR shall—within a reasonable period of
                                                                                                       time—provide a notice of the reasons for
                                                                                                       housing the minor in secure or staff secure
                                                                                                       facility. Such notice shall be in a language
                                                                                                       the UAC understands.”

Conditions for ¶25:                                      § 236.3(f); 83 Fed. Reg. 45,526:                § 410.500; FR 45533,
the transfer of “Unaccompanied minors arrested or        “(4) Conditions of transfer. (i) A UAC will     “(a) ORR does not transport UAC with adult
UAC             taken into custody by the INS should     not be transported with an unrelated            detainees.”
                not be transported by the INS in         detained adult(s) unless the UAC is being
                vehicles with detained adults except     transported from the place of apprehension
                A. when being transported from the       to a DHS facility or if separate transportation
                place of arrest or apprehension to an    is otherwise impractical or unavailable.
                INS office, or                           (ii) When separate transportation is
                B. where separate transportation would   impractical or unavailable, necessary
                be otherwise impractical. When           precautions will be taken to ensure the
                transported together pursuant to         UAC’s safety, security, and well-being. If a
                Clause (B) minors shall be separated     UAC is transported with any unrelated
                from adults. The INS shall take          detained adult(s), DHS will separate the
                necessary precautions for the            UAC from the unrelated adult(s) to the
                protection of the well-being of such     extent operationally feasible and take
                minors when transported with adults.”    necessary precautions for protection of the
                                                         UAC’s safety, security, and well-being.”




                                                                         21
                            Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 59 of 78 Page ID
                                                            #:25766



Issue2            Flores Settlement                           Proposed DHS Rule                              Proposed HHS Rule
Conditions for    ¶26:                                        § 236.3(j); 83 Fed. Reg. 45,528:               § 410.500; 83 Fed. Reg. 45,533:
the transfer of   “The INS shall assist without undue         “(3) For minors in DHS custody, DHS shall      “(b) When ORR plans to release a UAC from
UAC               delay in making transportation              assist without undue delay in making           its custody under the family reunification
                  arrangements to the INS office nearest      transportation arrangements to the DHS         provisions at sections 410.201 and 410.302 of
                  the location of the person or facility to   office nearest the location of the person to   this part, ORR assists without undue delay in
                  whom a minor is to be released              whom a minor is to be released. DHS may,       making transportation arrangements. ORR
                  pursuant to Paragraph 14. The INS           in its discretion, provide transportation to   may, in its discretion, provide transportation to
                  may, in its discretion, provide             minors.”                                       UAC.”
                  transportation to minors.”

Monitoring        ¶28A:                                       236.3(o); 83 Fed. Reg. 45,528:                [none]
compliance        “An INS Juvenile Coordinator in the         “(1) CBP and ICE each shall identify a
with the          Office of the Assistant Commissioner        Juvenile Coordinator for the purpose of
Flores            for Detention and Deportation shall         monitoring compliance with the terms of this
Settlement;       monitor compliance with the terms of        section.
collection of     this Agreement and shall maintain an        (2) The Juvenile Coordinators shall collect
data on           up-to-date record of all minors who         and periodically examine relevant statistical
minors            are placed in proceedings and remain        information about UACs and minors who
                  in INS custody for longer than 72           remain in CBP or ICE custody for longer
                  hours. Statistical information on such      than 72 hours. Such statistical information
                  minors shall be collected weekly from       may include but not necessarily be limited
                  all INS district offices and Border         to:
                  Patrol stations. Statistical information    (i) Biographical information;
                  will include at least the following:        (ii) Dates of custody; and
                  (1) biographical information such as        (iii) Placements, transfers, removals, or
                  each minor's name, date of birth,           releases from custody, including the
                  and country of birth,                       reasons for a particular placement.”
                  (2) date placed in INS custody,
                  (3) each date placed, removed or
                  released,
                  (4) to whom and where placed,
                  transferred, removed or released,

                                                                               22
                         Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 60 of 78 Page ID
                                                         #:25767



Issue2          Flores Settlement                         Proposed DHS Rule                               Proposed HHS Rule
                (5) immigration status, and
                (6) hearing dates.
                The INS, through the Juvenile
                Coordinator, shall also collect
                information regarding the reasons for
                every placement of a minor in a
                detention facility or medium security
                facility.”

Scope of        Exhibit 1, Preamble:                      § 236.3(i); 83 Fed. Reg. 45,527:                § 410.402(a)-(c); 83 Fed. Reg. 45,532:
requirements    “A. Licensed programs shall comply        “(4) Standards. Non-secure, licensed ICE        “Licensed programs must:
and basic       with all applicable state child           facilities to which minors who are not UACs     (a) Be licensed by an appropriate State
elements        welfare laws and regulations and all      are transferred pursuant to the procedures in   agency to provide residential, group, or foster
                state and local building, fire, health    paragraph (e) of this section shall abide by    care services for dependent children.
                and safety codes and shall provide or     applicable standards established by ICE.        (b) Comply with all applicable state child
                arrange for the following services for    At a minimum, such standards shall include      welfare laws and regulations and all state
                each minor in its care.”                  provisions or arrangements for the following    and local building, fire, health and safety
                                                          services for each minor who is not a UAC in     codes;
                                                          its care. . .”                                  (c) Provide or arrange for the following
                                                                                                          services for each UAC in care, including. . . “

Reunification   Exhibit 1, Section A, Paragraph 13:       § 236.3(i)(4); 83 Fed. Reg. 45,528:             § 410.402(c); 83 Fed. Reg. 45,532:
services        “[A licensed program shall provide for    “[Standards for non-secure, licensed ICE        “[A licensed program must provide for each
                each minor in its care:] 13. Family       facilities to which non-UAC minors are          UAC in its care:] (13) Family reunification
                reunification services designed to        transferred shall include provisions or         services designed to identify relatives in the
                identify relatives in the United States   arrangements for:] (xiii) When necessary,       United States as well as in foreign countries
                as well as in foreign countries and       communication with adult relatives living       and assistance in obtaining legal guardianship
                assistance in obtaining legal             in the United States and in foreign             when necessary for release of the UAC.”
                guardianship when necessary for the       countries regarding legal issues related to
                release of the minor.”                    the release and/or removal of the minor. .
                                                          .”


                                                                           23
                       Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 61 of 78 Page ID
                                                       #:25768



Issue2        Flores Settlement                Proposed DHS Rule                               Proposed HHS Rule
Determining   [none]                           § 236.3; 83 Fed. Reg. 45,525:                   See 83 Fed. Reg. 45,497:
whether a                                      “(d) Determining whether an alien is a UAC.     “Under the proposed rule, immigration
minor is a                                     (1) Immigration officers will make a            officers will make a determination of
UAC                                            determination as to whether an alien under      whether an alien meets the definition of a
                                               the age of 18 is a UAC at the time of           UAC each time they encounter the alien.”
                                               encounter or apprehension and prior to the
                                               detention or release of such alien.
                                               (2) When an alien previously determined         § 410.101; 83 Fed. Reg. 45,530:
                                               to have been a UAC has reached the age          “Unaccompanied alien child (UAC) means an
                                               of 18, when a parent or legal guardian in       individual who: Has no lawful immigration
                                               the United States is available to provide       status in the United States; has not attained 18
                                               care and physical custody for such an           years of age; and with respect to whom: There
                                               alien, or when such alien has obtained          is no parent or legal guardian in the United
                                               lawful immigration status, the alien is no      States; or no parent or legal guardian in the
                                               longer a UAC. An alien who is no longer a       United States is available to provide care and
                                               UAC is not eligible to receive legal            physical custody. When an alien previously
                                               protections limited to UACs under the           determined to have been a UAC has reached
                                               relevant sections of the Act. Nothing in this   the age of 18, when a parent or legal
                                               paragraph affects USCIS’ independent            guardian in the United States is available to
                                               determination of its initial jurisdiction       provide care and physical custody for such
                                               over asylum applications filed by UACs          an alien, or when such alien has obtained
                                               pursuant to section 208(b)(3)(C) of the         lawful immigration status, the alien is no
                                               Act.                                            longer a UAC. An alien who is no longer a
                                               (3) Age-out procedures. When an alien           UAC is not eligible to receive legal
                                               previously determined to have been a UAC        protections limited to UACs.”
                                               is no longer a UAC because he or she turns
                                               eighteen years old, relevant ORR and ICE
                                               procedures shall apply.”

Family        [none]                           § 236.3(h); 83 Fed. Reg. 45,526:                [none]
detention                                      “DHS’s policy is to maintain family unity,
                                               including by detaining families together

                                                                24
                         Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 62 of 78 Page ID
                                                         #:25769



Issue2          Flores Settlement                Proposed DHS Rule                                 Proposed HHS Rule
                                                 where appropriate and consistent with law
                                                 and available resources. If DHS determines
                                                 that detention of a family unit is required by
                                                 law, or is otherwise appropriate, the family
                                                 unit may be transferred to a Family
                                                 Residential Center which is a licensed
                                                 facility and non-secure.”

Definition of   [none]                           § 236.3(b); 83 Fed. Reg. 4,525:                   [none]
“family                                          “(8) Family Residential Center means a
residential                                      facility used by ICE for the detention of
center”                                          Family Units.”

Definition of   [none]                           § 236.3(b); 83 Fed. Reg. 45,525:                  [none]
“family unit”                                    “(7) Family unit means a group of two or
                                                 more aliens consisting of a minor or minors
                                                 accompanied by his/her/their adult parent(s)
                                                 or legal guardian(s). In determining the
                                                 existence of a parental relationship or a legal
                                                 guardianship for purposes of this definition,
                                                 DHS will consider all available reliable
                                                 evidence. If DHS determines that there is
                                                 insufficient reliable evidence available that
                                                 confirms the relationship, the minor will be
                                                 treated as a UAC.”

Non-secure      [none]                           § 236.3(b)(11); 83 Fed. Reg. 45,525:              [none]
definition                                       “ Non-Secure Facility means a facility that
                                                 meets the definition of nonsecure in the state
                                                 in which the facility is located. If no such
                                                 definition of nonsecure exists under state
                                                 law, a DHS facility shall be deemed non-

                                                                   25
                 Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 63 of 78 Page ID
                                                 #:25770



Issue2   Flores Settlement               Proposed DHS Rule                                Proposed HHS Rule
                                         secure if egress from a portion of the
                                         facility’s building is not prohibited through
                                         internal locks within the building or exterior
                                         locks and egress from the facility’s premises
                                         is not prohibited through secure fencing
                                         around the perimeter of the building.”




                                                          26
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 64 of 78 Page ID
                                #:25771



 Plaintiffs’ Exhibit 1- Declaration of Peter Shey
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 65 of 78 Page ID
                                #:25772


  1   CARLOS R. HOLGUÍN (Cal. Bar No. 90754)
  2   PETER A. SCHEY (Cal. Bar No. 58232)
      Center for Human Rights & Constitutional Law
  3   256 South Occidental Boulevard
  4   Los Angeles, CA 90057
      Telephone: (213) 388-8693
  5   Email: crholguin@centerforhumanrights.org
  6          pschey@centerforhumanrights.org
  7 ORRICK, HERRINGTON & SUTCLIFFE LLP
  8 Elena Garcia (Cal. Bar No. 299680)
    egarcia@orrick.com
  9 777 South Figueroa Street, Suite 3200
 10 Los Angeles, CA 90017
    Telephone: (213) 629-2020
 11

 12
      Listing continues on next page
 13

 14   Attorneys for Plaintiffs

 15

 16                              UNITED STATES DISTRICT COURT

 17              CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION

 18   JENNY LISETTE FLORES, et al.,              Case No. CV 85-4544-DMG (AGRx)
 19                   Plaintiffs,                DECLARATION OF CLASS COUNSEL
                                                 PETER SCHEY.
 20         v.
 21                                              Hearing: November 30, 2018
    JEFFERSON B. SESSIONS, Attorney              Time:    9:30 a.m.
 22 General, et al.,                             Room:    1st St. Courthouse
 23                                                       Courtroom 8C
                      Defendants.
 24

 25

 26

 27
 28
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 66 of 78 Page ID
                                #:25773


  1   Counsel for Plaintiffs, continued
  2
      HOLLY S. COOPER (Cal. Bar No. 197626)
  3   Co-Director, Immigration Law Clinic
  4   CARTER C. WHITE (Cal. Bar No. 164149)
      Director, Civil Rights Clinic
  5   University of California Davis School of Law
  6   One Shields Ave. TB 30
      Davis, CA 95616
  7   Telephone: (530) 754-4833
  8   Email: hscooper@ucdavis.edu
             ccwhite@ucdavis.edu
  9
 10 LA RAZA CENTRO LEGAL, INC.
    Michael S. Sorgen (Cal. Bar No. 43107)
 11 474 Valencia Street, #295

 12 San Francisco, CA 94103
    Telephone: (415) 575-3500
 13

 14   THE LAW FOUNDATION OF SILICON VALLEY
      Jennifer Kelleher Cloyd (Cal. Bar No. 197348)
 15   Katherine H. Manning (Cal. Bar No. 229233)
 16   Annette Kirkham (Cal. Bar No. 217958)
      152 North Third Street, 3rd floor
 17   San Jose, CA 95112
 18   Telephone: (408) 280-2437
      Facsimile: (408) 288-8850
 19   Email: jenniferk@lawfoundation.org
 20    kate.manning@lawfoundation.org
       annettek@lawfoundation.org
 21

 22   Of counsel:
 23
    YOUTH LAW CENTER
 24 Virginia Corrigan (Cal. Bar No. 292035)
    832 Folsom Street, Suite 700
 25
           San Francisco, CA 94104
 26        Telephone: (415) 543-3379
 27
 28
                                              ii      CLASS COUNSEL DECLARATION RE MEMORANDUM IN
                                                       SUPPORT OF MOTION FOR PERMANENT INJUNCTION,
                                                                                              ETC.
                                                                       CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 67 of 78 Page ID
                                #:25774


  1                 DECLARATION OF CLASS COUNSEL PETER SCHEY
  2
            I, Peter Schey, depose and say:
  3
            1. Carlos R. Holguin and I serve as class counsel in this case, Flores
  4

  5   v.Sessions, Case No. CV 85-4544-DMG (AGRx)
  6
            2. Pursuant to the Flores Settlement, Paragraph 37, and Local Rule L.R. 7-3, I
  7
      met and conferred with Defendants counsel telephonically and via email
  8

  9   communications on several dates between October 14 and 19, 2018, regarding
 10
      Defendants' proposed regulations intended to abrogate portions of the Flores
 11

 12
      settlement.

 13         3. In light of the chaos caused by Defendants recent separation of class
 14
      members from their parents, and subsequent at least temporary recalling of that
 15

 16
      policy, I conveyed to Defendants that Class Counsel believe issuance of final

 17   regulations materially similar to the proposed regulations would place Defendants in
 18
      immediate and material breach of the Settlement and cause chaos as thousands of
 19
 20   Defendants’ employees were placed in a position of either complying with the

 21   Settlement or the new regulations, the terms of which are obviously inconsistent.
 22
            4. Plaintiffs proposed to Defendants that they promptly agree that (1) prior to
 23

 24   issuing final regulations they provide the Court and Plaintiffs with their final

 25   regulations and agree to a briefing schedule leaving the Court sufficient time to
 26
      resolve the parties’ disputes, or (2) issue final regulations but make clear they will not
 27
 28
                                                                 MEMORANDUM IN SUPPORT OF MOTION FOR
                                                 1                      PERMANENT INJUNCTION, ETC.
                                                                          CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 68 of 78 Page ID
                                #:25775


  1   become effective until the Court terminates the agreement. I also advised Defendants
  2
      of Plaintiffs intention to file the accompanying motion to enforce the settlement.
  3

  4         5. Despite this issue having been raised with Defendants commencing October

  5   14, 2018, Defendants have not provided Class Counsel with any substantive response
  6
      or assurances that final regulations may not shortly be issued or that they will not go
  7

  8   into effect for at least 45 days or until the Court rules that the regulations are
  9   consistent with and implement the Settlement and therefore terminate it.
 10
            I declare under penalty of perjury that the foregoing is true and correct.
 11

 12         Executed this 2nd day of November, 2018, in Los Angeles, California.
 13

 14

 15                                                       Peter Schey
 16

 17

 18

 19
 20

 21

 22

 23

 24

 25

 26

 27
 28
                                                   2        CLASS COUNSEL DECLARATION RE MEMORANDUM IN
                                                             SUPPORT OF MOTION FOR PERMANENT INJUNCTION,
                                                                                                    ETC.
                                                                             CV 85-4544-DMG (AGRX)
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 69 of 78 Page ID
                                #:25776



 Plaintiffs’ Exhibit 2- Stipulation
        Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 70 of 78 Page ID
                                        #:25777



           CENTER FOR HUivlAN RIGHTS & CONSTITUflON '\L LAW
           Carlos Holguin                                                      Ii
                                                                               i '
                                                                                     lO
2          Peter A Schey
           Charles Song                                                                         _,   ,c..l

3          256 South Occidental Boulevard
           Los Angeles, CA 90057
4
           Telephone: (213) 388-8693; Fax: (213) 386-9484
5
           LATHAM & WATKINS
6          Steven Schulman
           555 Eleventh St, NW, Suite 1000
7          Washington, DC 20004
           Telephone: (202) 637-2184
8
           Of counsel
9
           'YOUTH L -\\\ CENTER
10         0\lice Bussiere
           417 Montgomery Street, Suite 900
11         San Francisco, CA 91104
           Telephone: (415) SB-3379 x 3903
12

13          4110111n1s for pl111nt1ffs

l4

15                                                         UNITED ST A TES DISTRICT COURT


16                                                       CE!-<TR-\L DISTRICT OF C -\LIFOKNI \

17         !ENNY LISETTE FLORES,                et al,                          Case No C\' S'i-,:JSH-RJK(rx)

18                    l'laintiffs,                                              Si ll'l L \JIU\ E\TE\DI\C
                                                                                SLIILL\ff,.I \CRIT\iE\I \,DJ(1i'.
19         -vs-                                                                 OTHER PURPOSES; AND ORDER
                                                                                !! 1 :"l\!-~C)'\.
           j   \'\l: l;i "' I,   \llO!Ill'\ (__,L'IH.:'!'tll
           of the l 11itccl Stales, cl ,11
21
) )

                                        - -----------


-) ')




-··JC
        Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 71 of 78 Page ID
                                        #:25778




2                  lT IS HEREBY STIPULATED by and behveen the parties as follows:

3                  1 Paragraph 40 of the Stipulation filed herein on January 17, 1997, is modified to read

4          as follows:
                   "All terms of this l\greement shall terminate the earliec of five years after !he date of

6                  final cmirt approval of this Agreement or three years after the court determine·, that

7                  the INS is in substantial compliance with this AgreemeRI, ,15 dnys follo,uing defmd,wls'

8                  publ!cat1011 of fim1/ 1egulatw11s w1plementmg 1/u, Ag1eenlfnl

9                  eJCCept that Notw1tlist1111dmg the {01 egomg, the INS shall continue to house the geneial

10                 population of minors in l'\.S custod\ in facilities that are state-licensed for the care of

il                 dependent minors"

12         / / /
13

l+
15

16

17



l9



21
) )




    )
             Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 72 of 78 Page ID
                                             #:25779



                             2 !'or a period of six months from the date this Stipulation is tiled, plaintiffs shall not

2                  initiate legal proceedings to compel publication of final regulations implementing this

3                  Agreement Plaintiffs agree to work with defendants cooperatively to,,vard resolving

4                  disputes regarding compliance with the Settlement The parties agree to confer regularly no

5                  less frequently than once monthly for the purpose of discussing the implementation of and

6                  compliance with the settlement agreement However, nothing herein shall require plaintiffs

7                  to forebear legal action to compel compliance with this Agreement where plaintiff class

8                  members are suffering irreparable injury

9                  Dated: December 7, 200L                               CENTER FOR HUMAN RIGHTS                &
                                                                         CONSTJTUTIOi\ \L L Wv
JO                                                                       Carlos Holguin
                                                                         Peter -'\ Schey
11
                                                                         L >\THA\ l & \V \ T KINS
12                                                                       Steven Schulman
                                                                                                     ,/-'
1',



                                                                       ir:/"
                                                                         YOUTH L.O.W CE'}{ER
l+
15

16
                                                                        _77✓
                                                                         Car os
                                                                                                    ',(/A_

17
                   Dated: Dcccrnbe, :- 2lllll                             \1lhu1St1alhe111
IS                                                                       Office ol the r;ene1<1l Counsel
                                                                         [~ S llll!lll½lill1,1n 0:.: \,alU!tlli/clliori   ~l t\   ll"L

19                                                                                -----,       I
2~-i
                                                                        -'- /              _.lifd._,          icr
.21                                                                       \rlbur c;tr<fthcfn, fen d,•f;,11,/n11f,,
                                                                         i\•i·   L1\ ,Yt1lhn1 i/,lli\111
) )


)
-
        .
        )


                   ll l~'.)\li__)l~.lli 1;1 \)
2+
 )      -,         I >c11, d: I lcn·mlic,        2001
                                                                         L\llli'Si         \lhllhil/ll l [lllCI

}_1·         : '
             ! i


    )
-

.h,
DEC-·07-2031      17: 42          INS GENERAL COUHSEL            202 51. 4 21455
     Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 73 of 78 Page IDP                         02
                                     #:25780


      i
1     !:          2 For a period of six months horn the date this Stipulation is filed, plaintiffs shall not
2          initiate legal proceedings to compel publication of final regulations implementing this
3          Agreement. Plaintiffs agree to work wlth defendants cooperatively toward resolving
4          disputes regarding compliance with the Settlement The parties agree to confer regularly no
5          less faequently than once monthly for the purpose of discussing the implementation of and
6          compliance with the settlement agreement. However, nothing herein shall require plaintiffs
7          to forebear legal action to compel compliance with this Agreement where plaintiff class
8          membeJS are suffering irreparable injury.
     ii
9    , , Dated; December 7, 2001.                                   CENTER FOR HUMAN RIGIHS &
10                                                                  CONSIJIUHONAL LAW
                                                                    Carlos Holguin
11                                                                  Peter A Schey
12                                                                  LAIHAM & WATKINS
13                                                                  Steven Schulman

14                                                                  YourH LAW CENIER
                                                                    Alice Bussiere
15

16
17                                                              ------··•·--·--· - - - - - - -
                                                                Cados Holguin, for plamliffs
18
           Dated· Decembe1 /, 2001                              Arthur Sti:athern
19                                                              Office of the (;;ene1 ,d ,:ounse1
                                                                US Immigration & ~aturalization Service
?0
21                                                                       Ii ,//J;;j/ ----·~ --
                                                                         ~~b{
22
                                                                    i\1thtn Strathern, ,fo1· deferidants
23                                                                  Per fax a:1thot:l'.::.tion
24
25         IT IS 50 OcZDERED

26         Dated: December ?, '()01
                                                                    lJN!TFP       res DJS!R!C r !UIX~I

28
                                                        -   )   -
         Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 74 of 78 Page ID
                                         #:25781



                                               PROOF OF SERVICI; BY i\1AIL

2                      I, Carlos Holguin, declme and say as follows:

3                      1 1 am over the age of eighteen years and am not a party to this action I am

4         employed in the County of Los Angeles, State of California My business address is 256

5         South Occidental Boulevard, Los Angeles, California 90057, in said county and state

6                      2 On December 7, 2001, I served the attached STIPULATION on defendants in this

7         proceeding by placing a true copy thereof in a sealed envelope addressed to their attorneys

8         of record as follows:

9                      Arthur Strathern
                       Office of the General Counsel
10                     US Immigration & Naturalization Service
                       425 I St N \\!
11                     Washington, DC 20536
12
          and by then sealing said envelope and depositing the same, with postage thereon fully
13
          prepaid, in the mail at Los ,\ngeles, California; that there is regular delivery of mail betheen
14
          the place of mailing and the place so addressed
15
                       I declare under penalt 1 of perjury that the foregoing is true and correct
16
                       Executed thisf-fi<dav o! December, 200 I, al Los ,\nge)<>s, C:ilifornia
17

1::-;

19                                                          I       4   I,         1
                                                                                             ---
                                                            '   -            I_/       I//

           /   I   I
21
))


) '
-    '
2-l




    ,-
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 75 of 78 Page ID
                                #:25782



 Plaintiffs’ Exhibit 3- Press Release From Dept. Of Homeland
 Security (Sept. 6, 2018).
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 76 of 78 Page ID
                                #:25783



 From: DHS.IGA [mailto:dhs.iga@hq.dhs.gov]   Sent: Thursday, September 6,
 2018 9:53 AM  To: DHS.IGA  Subject: DHS and HHS Announce New Rule to
 Implement the Flores Settlement Agreement

     DHS and HHS Announce New Rule to Implement the Flores Settlement
                                      Agreement
 DHS and HHS Publish New Proposed Rules to Fulfill Obligations under Flores
 Settlement Agreement


 WASHINGTON – Today, Secretary of Homeland Security Kirstjen M. Nielsen
 and Secretary of Health and Human Services Alex Azar announced a new
 proposed rule that would adopt in regulations relevant and substantive terms of the
 Flores Settlement Agreement (FSA).
  Vastly more families are now coming illegally to the southern border, hoping that
 they will be released into the interior rather than detained and
 removed. Promulgating this regulation and terminating the FSA is an important
 step towards regaining control over the border.
  The Department of Homeland Security (DHS) and the Department of Health
 and Human Services (HHS) are proposing a rule that would:
 ·     Codify relevant and substantive terms of the FSA and enable the termination
 of the FSA and litigation concerning its enforcement.
 ·     Formalize the way HHS accepts and cares for alien children
 ·     Satisfy the basic purpose of the FSA in ensuring that all alien minors and
 unaccompanied alien children in the Government’s custody are treated with
 dignity, respect, and special concern for their particular vulnerability as minors.
 ·     Allow U.S. Immigration and Customs Enforcement (ICE) to hold families
 with children in licensed facilities or facilities that meet ICE’s family residential
 standards, as evaluated by a third-party entity engaged by ICE.
 ·     Create a pathway to ensure the humane detention of families while satisfying
 the goals of the FSA.
 ·     Implement related provisions of the Trafficking Victims Protection
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 77 of 78 Page ID
                                #:25784



 Reauthorization Act (TVPRA) that DHS and HHS are already following including
 the transfer of unaccompanied alien children to HHS within 72 hours, absent
 exceptional circumstances.
  “Today, legal loopholes significantly hinder the Department’s ability to
 appropriately detain and promptly remove family units that have no legal basis to
 remain in the country,” said Secretary Nielsen. “This rule addresses one of the
 primary pull factors for illegal immigration and allows the federal government to
 enforce immigration laws as passed by Congress.”


 “Under this proposed rule, HHS would implement the Flores Settlement
 Agreement and our duties under the law to protect the safety and dignity of
 unaccompanied alien children in our custody,” said Secretary Azar.


 In 1985, a class-action suit challenged the policies of the former Immigration and
 Naturalization Service (INS) relating to the detention, processing, and release of
 alien children; the case eventually reached the U.S. Supreme Court. The Court
 upheld the constitutionality of the challenged INS regulations on their face and
 remanded the case for further proceedings consistent with its opinion.      In January
 1997, the parties reached a comprehensive settlement agreement, referred to as the
 FSA. The FSA was to terminate five years after the date of final court approval;
 however, the termination provisions were modified in 2001, such that the FSA
 does not terminate until forty-five days after publication of regulations
 implementing the agreement. Since 1997, intervening statutory changes, including
 passage of the Homeland Security Act (HSA) and the William Wilberforce
 Trafficking Victims Protection Reauthorization Act of 2008 (TVPRA), have
 significantly changed the applicability of certain provisions of the FSA.


 Recent litigation regarding the FSA began in February 2015 after the Obama
 administration’s response to the surge of aliens crossing the U.S.-Mexico border in
 2014, including the use of family detention. The district court and the U.S. Court
Case 2:85-cv-04544-DMG-AGR Document 516 Filed 11/02/18 Page 78 of 78 Page ID
                                #:25785



 of Appeals for the Ninth Circuit have interpreted the FSA in a manner that imposes
 operational challenges and burdens on DHS components implementing the FSA’s
 terms.


 Additionally, in 2016 the Ninth Circuit held for the first time that the FSA applied
 to all minors, both accompanied and unaccompanied.


 The Trump Administration is completing an overdue action that no prior
 administration has successfully completed, which is to terminate the FSA through
 the adoption of implementing regulations rather than continuing to burden the
 courts with immigration policy.


 The 60-day public comment period on the proposed rule begins on the date of
 publication in the Federal Register.
